      CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 1 of 126




                     UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA



IN RE PORK ANTITRUST LITIGATION       Case No. 0:18-cv-01776-JRT-HB

                                      COMMERCIAL AND
                                      INSTITUTIONAL INDIRECT
This Document Relates To:             PURCHASER PLAINTIFFS’
ALL COMMERCIAL AND                    SECOND AMENDED AND
INSTITUTIONAL INDIRECT                CONSOLIDATED CLASS ACTION
PURCHASER PLAINTIFF ACTIONS           COMPLAINT

                                      DEMAND FOR JURY TRIAL

                                      (REDACTED VERSION)
        CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 2 of 126




                                           TABLE OF CONTENTS
                                                                                                                            Page

I.     NATURE OF ACTION............................................................................................ 3

II.    JURISDICTION AND VENUE ............................................................................... 7

III.   PARTIES .................................................................................................................. 8

       A.        Plaintiffs ........................................................................................................ 8
       B.        Defendants ................................................................................................... 10
IV.    FACTUAL ALLEGATIONS ................................................................................. 14

       A.        Defendants’ anticompetitive scheme started from Agri Stats’ central role
                 in collusion in the Broiler industry. ............................................................. 14
       B.        After success in the Broiler industry, Agri Stats began marketing its
                 collusive scheme to the swine integrators. .................................................. 16
       C.        Agri Stats provided pork integrators the unparalleled ability to monitor
                 pricing and production, and to discipline co-conspirators for not complying
                 with the collusive agreement. ...................................................................... 18
       D.        Defendants controlled the supply and production of pork in the United
                 States, which allowed the scheme to succeed. ............................................ 27
       E.        The level of concentration in the pork industry was optimal for
                 Defendants’ collusive scheme. .................................................................... 32
       F.        The inelastic demand for, and homogeneity of, pork products facilitated
                 collusion ...................................................................................................... 40
       G.        Defendants took advantage of numerous opportunities to collude. ............ 41
       H.        Defendants implemented capacity and supply restraints during the Class
                 Period........................................................................................................... 50
                 1.        Summary of Defendants’ Conspiratorial Supply Restraints ............ 50

                           a.         Smithfield .............................................................................. 53

                           b.         Tyson ..................................................................................... 54

                           c.         JBS/Cargill ............................................................................ 54

                           d.         Hormel................................................................................... 54

                           e.         Seaboard ................................................................................ 55


                                                           i
          CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 3 of 126




                           f.        Triumph ................................................................................. 55

                           g.        Clemens ................................................................................. 56

                           h.        Indiana Packers ..................................................................... 56

                  2.       Timeline of the Conspiracy .............................................................. 56

         I.       Abnormal pricing during the Class Period demonstrates the success of the
                  collusive scheme.......................................................................................... 69
                  1.       The average hog wholesale price experienced an unprecedented
                           increase beginning in 2009............................................................... 69

                  2.       The pork cut-out composite price experienced a dramatic increase
                           beginning in 2009 and continuing throughout the class period. ...... 71

                  3.       Defendants’ revenues increased beginning in 2009, even taking into
                           account defendant-specific costs. ..................................................... 72

         J.       Overcharges due to the cartel were reflected in higher pork prices. ........... 74
         K.       Defendants actively concealed the conspiracy and Plaintiffs did not and
                  could not have discovered Defendants’ anticompetitive conduct. .............. 79
V.       CLASS ACTION ALLEGATIONS ....................................................................... 83

VI.      ANTITRUST INJURY........................................................................................... 87

VII.     CAUSES OF ACTION........................................................................................... 88

VIII. RELIEF SOUGHT ............................................................................................... 122

IX.      JURY TRIAL DEMANDED ............................................................................... 124




                                                        ii
        CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 4 of 126




        Commercial and Institutional Indirect Purchaser Plaintiffs (“Plaintiffs”) 1 bring this

action on behalf of themselves individually and on behalf of a plaintiff class consisting of

all commercial and institutional indirect purchasers of pork from a Defendant or co-

conspirator named in this Second Amended and Consolidated Class Action Complaint in

the United States from at least January 1, 2009 until the present (the “Class Period”).

Plaintiffs bring this action against Defendants for injunctive relief and treble damages

under the antitrust laws of the United States and various state antitrust, consumer

protection and unfair trade practices, and unjust enrichment laws and demands a trial by

jury.

                              I.     NATURE OF ACTION

        1.     The pork integrator Defendants (i.e., the Defendants other than Agri Stats)

are the leading suppliers of pork in an industry with approximately $20 billion in annual

commerce. The United States pork industry is highly concentrated, with a small number

of large companies controlling the supply. Defendants and their co-conspirators

collectively control over 80 percent of the wholesale pork integration market.

        2.     Defendants, Agri Stats, Inc. (“Agri Stats”), Clemens Food Group, LLC,

The Clemens Family Corporation (“Clemens”), Hormel Foods Corporation, Hormel

Foods, LLC (“Hormel”), Indiana Packers Corporation (“Indiana Packers”), JBS USA

Food Company (“JBS” or “JBS USA”), Seaboard Foods LLC, Seaboard Corporation

(“Seaboard”), Smithfield Foods, Inc. (“Smithfield”), Triumph Foods, LLC (“Triumph”),


   1
     “Plaintiffs” refers collectively to each of the named plaintiffs identified in Section
III(A) of this complaint.


                                           3
       CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 5 of 126




Tyson Foods, Inc., Tyson Prepared Foods, Inc., and Tyson Fresh Meats, Inc. (“Tyson”),

entered into a conspiracy from at least 2009 to the present to fix, raise, maintain, and

stabilize the price of pork. 2 The principal (but not exclusive) method by which

Defendants implemented and executed their conspiracy was by coordinating output and

limiting production with the intent and expected result of increasing pork prices in the

United States. In furtherance of their conspiracy, Defendants exchanged detailed,

competitively sensitive, and closely guarded non-public information about prices,

capacity, sales volume, and demand through their co-conspirator, Defendant Agri Stats.

       3.     Beginning in at least 2009, Agri Stats began providing highly sensitive

“benchmarking” reports to the majority of pork integrators. Benchmarking allows

competitors to compare their profits or performance against that of other companies. But

Agri Stats’ reports are unlike those of lawful industry reports. Agri Stats gathers detailed

financial and production data from each of the pork integrators, standardizes this

information, and produces customized reports and graphs for the co-conspirators. The

type of information available in these reports is not the type of information that

competitors would provide each other in a normal, competitive market. Instead, the

provision of this detailed information acts as the modern equivalent of the proverbial

smoke-filled room. Rather than meeting in a room with pen and paper, Agri Stats

collected the pork integrators’ competitively sensitive supply and pricing data and


   2
     For the purposes of this complaint, “pork” includes pig meat purchased fresh or
frozen, smoked ham, sausage, and bacon. From time to time in this complaint, “pork” and
“swine” are used interchangeably, particularly when referring to the pork or swine
industry.


                                         4
        CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 6 of 126




intentionally shared that information through detailed reports it provided to the pork

integrators. On a weekly and monthly basis, Agri Stats provides the pork integrators with

current and forward-looking sensitive information (such as profits, costs, prices and

slaughter information), and regularly provides the keys to deciphering which data belongs

to which participant. The effect of this information exchange was to allow the pork

integrators to monitor each other’s production and hence control supply and price in

furtherance of their anticompetitive scheme.

       4.     The data exchanged through Agri Stats also bears all the hallmarks of the

enforcement and implementation mechanism of a price-fixing scheme. First, the data is

current and forward-looking – which courts consistently hold has “the greatest potential

for generating anticompetitive effects.” 3 Second, information contained in Agri Stats

reports is specific to pork integrators, including information on profits, prices, costs, and

production levels; instead of being aggregated as industry averages to avoid transactional

specificity and the easy identification of specific integrators. Third, none of the Agri Stats

information was publicly available. Agri Stats is a subscription service which required

the co-conspirators to pay millions of dollars over the Class Period – far in excess of any

other pricing and production indices. Agri Stats ensured that its detailed, sensitive

business information was available only to the co-conspirators and not to any buyers in

the market. Defendants utilize the information exchanges through Agri Stats in




   3
     Todd v. Exxon Corp., 275 F.3d 191, 2011 (2d Cir. 2001) (Sotomayor, J.) (quoting
United States v. Gypsum Co., 438 U.S. 422, 441 n.16 (1978)).


                                          5
        CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 7 of 126




furtherance of their conspiracy to fix, raise, stabilize, and maintain artificially inflated

prices for pork sold in the United States.

       5.     While Defendants went to great lengths to keep the existence of the

conspiracy a secret, they admitted in public calls that they had discussed production cuts

at least once, and publicly signaled to each other that no supply increases would happen.

Furthermore, each Defendant engaged in acts in furtherance of the conspiracy by

participating in such supply cuts and by limiting increases in supply that otherwise would

have occurred.

       6.     In addition, there are numerous “plus factors” in the swine industry during

the Class Period, including but not limited to multiple industry characteristics which

facilitate collusion, such as vertically integrated operations, high barriers to entry

preventing competitors from coming into the market, high pork industry consolidation

and concentration, inelastic supply and demand, and homogeneity of pork products. 4

These plus factors add plausibility to plaintiffs’ allegations of a price-fixing scheme.

       7.     Defendants’ restriction of pork supply had the intended purpose and effect

of increasing pork prices to Plaintiffs and class members. Beginning in 2009, the earnings

of the integrators began to increase, as they took an increasing amount of the profits

available in the pork industry. As a result of Defendants’ unlawful conduct, Plaintiffs and

the class members paid artificially inflated prices for pork during the Class Period. Such

prices exceeded the amount they would have paid if the price for pork had been


   4
     Pork is homogenous within cut type – e.g., a pork belly from Tyson and Smithfield
are virtually indistinguishable.


                                             6
       CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 8 of 126




determined by a competitive market. Thus, Plaintiffs and class members were injured by

Defendants’ conduct.

                         II.    JURISDICTION AND VENUE

       8.     Plaintiffs seek damages, restitution, treble damages, disgorgement, other

monetary relief, injunctive and other equitable relief under various state antitrust,

consumer protection and unfair trade practices laws, and state unjust enrichment laws, as

alleged specifically herein, as well as costs of suit, including reasonable attorneys’ fees,

for the injuries that Plaintiffs and all others similarly situated sustained as a result of

Defendants’ violations of those laws.

       9.     This Court has subject matter jurisdiction over the state law claims under

28 U.S.C. § 1332 because the amount in controversy for each of the Classes exceeds

$5,000,000, there are more than 100 members in each of the Classes, and there are

members of some of the Classes who are citizens of different states than Defendants.

       10.    Venue is appropriate in this District under Sections 4, 12, and 16 of the

Clayton Act, 15 U.S.C. §§15, 22 and 26 and 28 U.S.C. §1391(b), (c) and (d), because one

or more Defendants resided or transacted business in this District, is licensed to do

business or is doing business in this District, and because a substantial portion of the

affected interstate commerce described herein was carried out in this District.

       11.    This Court has personal jurisdiction over each Defendant because, inter

alia, each Defendant: (a) transacted business throughout the United States, including in

this District; (b) manufactured, sold, shipped, and/or delivered substantial quantities of

pork throughout the United States, including this District; (c) had substantial contacts


                                         7
        CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 9 of 126




with the United States, including this District; and/or (d) engaged in an antitrust

conspiracy that was directed at and had a direct, foreseeable, and intended effect of

causing injury to the business or property of persons residing in, located in, or doing

business throughout the United States, including this District.

       12.     The activities of the Defendants and all co-conspirators, as described

herein, were within the flow of, were intended to, and did have direct, substantial and

reasonably foreseeable effects on the interstate commerce of the United States.

       13.     No other forum would be more convenient for the parties and witnesses to

litigate this case.

                                      III.       PARTIES

A.     Plaintiffs

       14.     Plaintiff Sandee’s Bakery is located at 1284 E 2nd St, Jamestown, NY

14701. It indirectly purchased pork made by one or more Defendants during the Class

Period for business use in commercial food preparation and suffered antitrust injury as a

result of the violations alleged in this Complaint.

       15.     Plaintiff Confetti’s is located at 301 W. Bay St., EverBank Center,

Jacksonville, FL 32202. It indirectly purchased pork made by one or more Defendants

during the Class Period for business use in commercial food preparation and suffered

antitrust injury as a result of the violations alleged in this Complaint.

       16.     Plaintiff Francis T. Enterprises d/b/a Erbert & Gerbert’s, operates sandwich

shops in St. Cloud, Minnesota. It indirectly purchased pork made by one or more




                                             8
       CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 10 of 126




Defendants during the Class Period for business use in commercial food preparation and

suffered antitrust injury as a result of the violations alleged in this Complaint.

       17.    Plaintiff Erbert & Gerbert’s, Inc., operates a sandwich shop in Eau Claire,

Wisconsin. It indirectly purchased pork made by one or more Defendants during the

Class Period for business use in commercial food preparation and suffered antitrust injury

as a result of the violations alleged in this Complaint.

       18.    Plaintiff Joe Lopez, d/b/a Joe’s Steak and Leaf, is located at 5012 W. 116th

St., Los Angeles, CA 90045. It indirectly purchased pork made by one or more

Defendants during the Class Period for business use in commercial food preparation and

suffered antitrust injury as a result of the violations alleged in this Complaint.

       19.    Plaintiff Longhorn’s Steakhouse is located at 9456 Hwy 15, Sallis, MS

39160. It indirectly purchased pork made by one or more Defendants during the Class

Period for business use in commercial food preparation and suffered antitrust injury as a

result of the violations alleged in this Complaint.

       20.    Plaintiff Betty’s Eat Shop is located at 126 S. Whitworth Ave, Brookhaven,

MS 39601. It indirectly purchased pork made by one or more Defendants during the

Class Period for business use in commercial food preparation and suffered antitrust injury

as a result of the violations alleged in this Complaint.

       21.    Plaintiff Ziggy’s BBQ Smokehouse & Ice Cream Parlor, LLC is located at

135 S. Main St., Oregon, WI 53575. It indirectly purchased pork made by one or more

Defendants during the Class Period for business use in commercial food preparation and

suffered antitrust injury as a result of the violations alleged in this Complaint.


                                           9
       CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 11 of 126




       22.    Plaintiff The Grady Corporation is located at 1400 SE Walton Blvd. #46,

Bentonville, Arkansas 72712. It indirectly purchased pork made by one or more

Defendants during the Class Period for business use in commercial food preparation and

suffered antitrust injury as a result of the violations alleged in this Complaint.

       23.    Plaintiff Mcmjoynt LLC d/b/a The Breakfast Joynt resides and has its

principal place of business in Scottsdale, Arizona. It indirectly purchased pork made by

one or more Defendants during the Class Period for business use in commercial food

preparation and suffered antitrust injury as a result of the violations alleged in this

Complaint.

B.     Defendants

       Agri Stats

       24.    Agri Stats, Inc. is an Indiana corporation located in Fort Wayne, Indiana

and is a subsidiary of Eli Lilly & Co. Throughout the Class Period, Agri Stats acted as a

co-conspirator and committed acts in furtherance of the conspiracy by facilitating the

exchange of confidential, proprietary, and competitively sensitive data among Defendants

and their co-conspirators.

       Clemens

       25.    Clemens Food Group, LLC is a limited-liability company headquartered in

Hatfield, Pennsylvania. During the Class Period, Clemens Food Group, LLC and/or its

predecessors, wholly owned or controlled subsidiaries, or affiliates sold pork in interstate

commerce, directly or through its wholly owned or controlled affiliates, to purchasers in

the United States.


                                          10
       CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 12 of 126




       26.    The Clemens Family Corporation is a Pennsylvania corporation

headquartered in Hatfield, Pennsylvania, and the parent company of Clemens Food

Group, LLC. During the Class Period, The Clemens Family Corporation and/or its

predecessors, wholly owned or controlled subsidiaries, or affiliates sold pork in interstate

commerce, directly or through its wholly owned or controlled affiliates, to purchasers in

the United States.

       Hormel

       27.    Hormel Foods Corporation is a Delaware corporation headquartered in

Austin, Minnesota. During the Class Period, Hormel Foods Corporation and/or its

predecessors, wholly owned or controlled subsidiaries, or affiliates, including but not

limited to Hormel Foods, LLC sold pork in interstate commerce, directly or through its

wholly owned or controlled affiliates, to purchasers in the United States.

       28.    Hormel Foods, LLC is a Minnesota corporation headquartered in Austin,

Minnesota. Hormel Foods, LLC is a wholly owned subsidiary of Defendant Hormel

Foods Corporation. During the Class Period, Hormel Foods Corporation and/or its

predecessors, wholly owned or controlled subsidiaries, or affiliates sold pork in interstate

commerce, directly or through its wholly owned or controlled affiliates, to purchasers in

the United States.

       Indiana Packers

       29.    Indiana Packers Corporation is an Indiana corporation headquartered in

Delphi, Indiana. During the Class Period, Indiana Packers Corporation and/or its

predecessors, wholly owned or controlled subsidiaries, or affiliates sold pork in interstate


                                         11
       CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 13 of 126




commerce, directly or through its wholly owned or controlled affiliates, to purchasers in

the United States. Indiana Packers Corporation’s parent companies are Itoham Foods,

Inc., Mitsubishi Corporation, and Mitsubishi Corporation (Americas).

       JBS

       30.    JBS USA Food Company is one of the world’s largest beef and pork

processing companies and a wholly owned subsidiary of JBS USA Food Company

Holdings, which holds a 78.5 percent controlling interest in Pilgrim’s Pride Corporation,

one of the largest chicken-producing companies in the world. JBS USA Food Company is

a Delaware corporation, headquartered in Greeley, Colorado. During the Class Period,

JBS USA Food Company and/or its predecessors, wholly owned or controlled

subsidiaries, or affiliates sold pork in interstate commerce, directly or through its wholly

owned or controlled affiliates, to purchasers in the United States.

       Seaboard

       31.    Seaboard Foods LLC is a limited-liability company headquartered in

Shawnee Mission, Kansas, and is a wholly owned subsidiary of Seaboard Corporation.

During the Class Period, Seaboard Foods LLC and/or its predecessors, wholly owned or

controlled subsidiaries, or affiliates sold pork in interstate commerce, directly or through

its wholly owned or controlled affiliates, to purchasers in the United States.

       32.    Seaboard Corporation is a Delaware corporation headquartered in Merriam,

Kansas, and is the parent company of Seaboard Foods LLC. During the Class Period,

Seaboard Corporation and/or its predecessors, wholly owned or controlled subsidiaries,




                                         12
          CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 14 of 126




or affiliates sold pork in interstate commerce, directly or through its wholly owned or

controlled affiliates, to purchasers in the United States.

          Smithfield

          33.     Smithfield Foods, Inc. is incorporated in the Commonwealth of Virginia,

and an indirect wholly owned subsidiary of WH Group Limited, a Chinese company.

Smithfield Foods is headquartered in Smithfield, Virginia. During the Class Period,

Smithfield Foods, Inc. and/or its predecessors, wholly owned or controlled subsidiaries,

or affiliates sold pork in interstate commerce, directly or through its wholly owned or

controlled affiliates, to purchasers in the United States.

          Triumph

          34.     Triumph Foods, LLC is a limited-liability company headquartered in St.

Joseph, Missouri. During the Class Period, Triumph Foods, LLC and/or its predecessors,

wholly owned or controlled subsidiaries, or affiliates sold pork in interstate commerce,

directly or through its wholly owned or controlled affiliates, to purchasers in the United

States.

          Tyson

          35.     Tyson Foods, Inc. is a publicly traded Delaware corporation headquartered

in Springdale, Arkansas. During the Class Period, Tyson Foods, Inc. and/or its

predecessors, wholly owned or controlled subsidiaries, or affiliates sold pork in interstate

commerce, directly or through its wholly owned or controlled affiliates, to purchasers in

the United States.




                                           13
           CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 15 of 126




           36.   Tyson Prepared Foods, Inc. is a Delaware corporation headquartered in

Springdale, Arkansas and is a wholly-owned subsidiary of Tyson Foods, Inc. During the

Class Period, Tyson Prepared Foods, Inc. sold pork in interstate commerce, directly or

through its wholly-owned or controlled affiliates, to purchasers in the United States.

           37.   Tyson Fresh Meats, Inc. is a Delaware corporation headquartered in

Springdale, Arkansas and is a wholly-owned subsidiary of Tyson Foods, Inc. During the

Class Period, Tyson Fresh Meats, Inc. sold pork in interstate commerce, directly or

through its wholly-owned or controlled affiliates, to purchasers in the United States.

                              IV.    FACTUAL ALLEGATIONS

           38.   Starting in at least 2009 and continuing to the present, Defendants

conspired to fix, raise, maintain and stabilize pork prices. To effectuate and ensure the

stability of their anticompetitive agreement, Defendants relied on a unique industry data

sharing service provided by Agri Stats. Agri Stats provided a means for Defendants to

obtain and monitor critical and competitively sensitive business information regarding

each other’s production metrics, thereby serving as a central and critical part of

Defendants’ price-fixing scheme, resulting in a stable and successful anticompetitive

cartel.

A.         Defendants’ anticompetitive scheme started from Agri Stats’ central role in
           collusion in the Broiler industry.

           39.   Agri Stats has played a central role in collusion in other industries,

including involvement in the Broiler industry. 5 As alleged in the In re Broiler Chicken


     5
         “Broilers” are chickens raised to be slaughtered before the age of 13 weeks.


                                            14
       CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 16 of 126




Antitrust Litigation, No. 16-cv-08637 (N.D. Ill.), the Broiler producers used Agri Stats as

a part of their conspiracy to restrain production and inflate prices.

       40.    In the Broiler industry, Agri Stats collected and disseminated to the other

members of the conspiracy disaggregated financial information (such as monthly

operating profit, sales and cost per live pound), production volumes, capacity, slaughter

information, inventory levels, and sales data for finished product form and type, amongst

other pieces of competitively sensitive business information. The Agri Stats reports

contain line-by-line entries for plants, lines, and yields of various Broiler facilities. Agri

Stats relied upon (and the co-conspirators agreed to) a detailed audit process to verify the

accuracy of data from each Broiler producer’s complex, sometimes directly contacting

the Broiler producers to verify the data. Agri Stats also provided detailed price reports to

the Broiler industry through its subsidiary, Express Markets, Inc., also known as EMI.

Agri Stats collected data from the Broiler producers on a weekly basis and provided its

reports to Broiler producers on a weekly and monthly basis.

       41.    The detail of these reports ensured that competitors could quickly decode

the information of their purported competitors. The Broiler complaints allege it was

common knowledge that the detail of the Agri Stats reports allowed any reasonably

informed producer to discern the identity of the competitors’ individual Broiler

complexes. The Broiler reports, in parts, contained so few producers participating that the

identities were obvious. Other reports contained such detailed data that it could be

matched with the publicly stated aggregate data for larger Broiler defendants such as




                                          15
         CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 17 of 126




Tyson. The complaints allege that Agri Stats purposefully circulated this information to

top executives to facilitate agreement on supply, constraints, and price.

         42.   In the Broiler industry, plaintiffs also alleged that Agri Stats – known to its

co-conspirators to be a willing and informed conduit for illicit information exchanges –

used public and semi-public forums to convey messages to industry participants that

furthered the purposes of the conspiracy by reassuring conspirators that production cuts

would continue, and by inducing them to continue to act in concert to ensure they did.

Agri Stats’ own statements in the Broiler industry facilitated the implementation of the

agreement to restrict supply.

         43.   In denying defendants’ motions to dismiss in the In re Broiler Chicken

Antitrust Litigation, the district court noted that given the nature of the Agri Stats reports,

the defendants are in fact sharing future anticipated production information with one

another, which raises significant antitrust concerns. 6

B.       After success in the Broiler industry, Agri Stats began marketing its collusive
         scheme to the swine integrators.

         44.   Beginning in at least 2008, Agri Stats began to propose a series of

benchmarks to the swine industry along the lines of the benchmarks used to restrain

competition in the Broiler industry. Benchmarking is the act of comparing one

company’s practices, methods or performance against those of other companies. 7



     Memorandum Opinion and Order at 11, In re Broiler Chicken Antitrust Litigation,
     6

No. 16-cv-08637 (N.D. Ill. Nov. 20, 2017), ECF No. 541.
    Thomas J. Rosch, Antitrust Issues Related to Benchmarking and Other Information
     7

Exchanges, Federal Trade Commission (May 3, 2011) (available at


                                          16
          CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 18 of 126




Benchmarking of the type undertaken by Agri Stats and its co-conspirators here reduces

strategic uncertainty in the market and changes the incentives for competitors to compete,

thereby enabling companies to coordinate their market strategies and otherwise restrict

competition. This is especially true where benchmarking involves the exchange of

commercially sensitive, and typically proprietary, information among competitors.

          45.    In 2008, Greg Bilbrey of Agri Stats told swine industry participants that

“Benchmarking in the swine industry could range from simple production comparisons to

elaborate and sophisticated total production and financial comparisons. Each and every

commercial swine operation is encouraged to participate in some benchmarking

effort.” 8

          46.    Agri Stats emphasized to pork integrators that the goal of the agreement to

share information was profitability, not production, and invited pork integrators again to

participate in the benchmarking. Agri Stats emphasized that “We must remember that the

ultimate goal is increasing profitability – not always increasing the level of production.”

Furthermore, Agri Stats told the industry that “[e]ach swine production company should

be participating in some type of benchmarking. To gain maximum benefit, production,

cost and financial performance should all be part of the benchmarking program.” 9




https://www.ftc.gov/sites/default/files/documents/public_statements/antitrust-issues-
related-benchmarking-and-other-information-exchanges/110503roschbenchmarking.pdf).
    8
     Greg Bilbrey, Benchmarking and Cost – Production Relationships, 19 Advances in
Pork Production Journal, p. 43 (2008) (emphasis added).
    9
        Id. at p. 46 (emphasis added).


                                           17
          CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 19 of 126




          47.   In April 2009, Greg Bilbrey of Agri Stats again invited swine integrators to

design and operate their own benchmarking effort: “Though all producers may not be

part of or fit into an Agri Stats type benchmarking program, all producers could

participate in benchmarking in some way. Commercial benchmarking opportunities are

available. Producer groups could design and operate their own benchmarking effort.” 10

          48.   Beginning no later than 2009, the pork integrators commenced participation

in the detailed benchmarking scheme based upon and found in the Agri Stats reports.

Defendants’ agreement was to use the exchanged benchmarking information to

coordinate supply and stabilize as well as increase prices of pork sold in the United

States, to provide and receive information from Agri Stats, and to use this detailed

sensitive information for the purposes of monitoring each other’s production and pricing.

The agreement was successful as pork prices rose significantly after the agreement was

reached.

C.        Agri Stats provided pork integrators the unparalleled ability to monitor
          pricing and production, and to discipline co-conspirators for not complying
          with the collusive agreement.

          49.   Agri Stats provided pork integrators with an unparalleled ability to share

critical and proprietary information concerning key business metrics, such as production

levels and short and long-term production capacity. Agri Stats was key to the formation,

operation, and continuing stability of the Defendants’ anticompetitive scheme. To

effectuate their agreement, the participants had to have confidence that each member was


      Greg Bilbrey, Benchmarking and Tools to Maximize Profit, London Swine
     10

Conference – Tools of the Trade (April 1-2, 2009).


                                          18
         CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 20 of 126




following through with the agreement by limiting their production and stabilizing prices.

Agri Stats served that function.

         50.   Each member of the conspiracy, Defendants Clemens, Hormel, Indiana

Packers, JBS USA, Seaboard, Smithfield, Triumph, and Tyson, were all Agri Stats

subscribers and reported their information to Agri Stats. Agri Stats’ parent company, Eli

Lilly, stated that “over 90% of the poultry and pig market” uses Agri Stats in the United

States. 11

         51.   Agri Stats collects participant financial and production data electronically

each month. Internal auditors convert the data, prepare it for comparison, and perform the

monthly audits. Each company’s financial data is reconciled to their general ledger to

help ensure actual costs are reported. Raw numbers are used in Agri Stats’ standardized

calculations so all company numbers are calculated the same way. 12

         52.   Unlike traditional “benchmark” services which rely upon unaudited and

aggregated publicly available data, Agri Stats obtains audited data directly from the

participating producers.




    11
       Transcript, Eli Lilly and Co. at Morgan Stanley Global Healthcare Conference
(Sept. 13, 2016) (emphasis added).
     Greg Bilbrey, Implementing Simple and Useful Production Benchmarking, London
    12

Swine Conference – A Time for Change (March 28-29, 2012).
    13




                                         19
         CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 21 of 126




         53.   Participants in the scheme received monthly detailed reports and graphs

that allow them to compare their performance and costs to other participants, the average

of all companies, the top 25 percent and the top five companies. Current month, previous

quarter and previous twelve-month periods are reported. As of 2009, each monthly report

contained nine sections for analysis and comparison: Performance Summary, Feed Mill,

Ingredient Purchasing, Weaned Pig Production, Nursery, Finishing, Wean-to-Finish,

Market Haul, Profit and Sales. 16 Participants may also receive an abbreviated Key

Performance Indicator report, as well as historical graphs. 17

         54.   Because of the nature of the life of a hog, even current and historical

information regarding the production numbers of hogs provides forward-looking supply

information to competitors. The typical hog production cycle lasts about four years. This

is a function of the hog biological cycle. Given the length of time needed to breed an

existing sow, choose and retain offspring for breeding, and breed and rear the resulting

crop of piglets, it takes nearly two years to substantially increase production.




   14

   15

   16
        Greg Bilbrey, Benchmarking and Tools to Maximize Profit, supra note 10.
   17
        Greg Bilbrey, Benchmarking and Cost-Production Relationships, supra note 9.


                                          20
         CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 22 of 126




         55.   One presentation from Agri Stats shows the level of detail provided to

competitors regarding profits in the pork market: 18




         56.   The purpose of these reports was not to provide better prices to customers

or to lower the costs of production. Instead, the purpose was to improve the profitability

of the co-conspirators. The particular Agri Stats report referenced above shows the

ranking of each company in profitability, and compares the company to its competitors

by providing the variance from the average. On information and belief, the Agri Stats

report actually circulated to competitors contained even further detail. The same

presentation informed pork integrators that one of the “Advantages for Top 25% in

   18
        Greg Bilbrey, Key Drivers to Farm Profitability (2011).


                                         21
        CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 23 of 126




Profit” was the “Sales Price: $2 - $6/ckg.” (ckg refers to 100 kilograms.) This underlines

that the purpose of these reports was not to allow customers to save money through lower

prices and more efficient production – in fact, the opposite was true, the purpose was the

profitability of the Defendant companies and the impact was higher prices for pork

customers.

        57.   Much of the information shared by Agri Stats and the other Defendants was

unnecessary to achieve any benefits for pork purchasers. Exchanging individual company

data (particularly current data on prices and costs) is not required to achieve major

efficiencies. 19 In fact, in a truly competitive market, the participants would closely

protect such proprietary information from disclosure as providing it to competitors would

be disadvantageous: unless, of course, there is an agreement that the competitors will use

the information to the joint benefit of each other as was the situation in the pork industry.

        58.   Agri Stats knew that it played a central role in this conspiracy. Agri Stats

repeatedly touted its role in standardizing the costs across companies – allowing the

companies to compare the “apples to apples” of its data analysis among competitors. One

presentation from Agri Stats spoke directly on this point, pointing out to industry




   19
       FTC Roundtable on Information Exchanges Between Competitors Under
Competition Law Organization for Economic Cooperation and Development, (Oct. 21,
2010) at 6, https://www.ftc.gov/sites/default/files/attachments/us-submissions-oecd-and-
other-international-competition-fora/1010informationexchanges.pdf.


                                         22
         CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 24 of 126




participants that they could not undertake such a detailed cost analysis among

competitors without Agri Stats auditing and standardizing the data: 20




         59.   Agri Stats stated that to ensure data contained in the reports was accurate,

the participants had to “agree on calculation and data collection procedures,” they must

“[d]etermine tolerance and outlier status and enforce,” they must “[h]ave an

administrator to compile the data and enforce procedures,” and most importantly, “[e]ach

participant has to commit.” 21

         60.   In addition to these reports, Agri Stats’ account managers conducted on-site

live reviews to assist with report utilization and analysis. 22 The information provided by


   20
         Greg Bilbrey, Data Integrity, Slideshare.net (Sept. 21, 2015),
https://www.slideshare.net/trufflemedia/greg-bilbrey-data-integrity-using-records-for-
benchmarking-and-operations.
   21
        Id. (emphasis added).
   22
        Greg Bilbrey, Benchmarking and Tools to Maximize Profit, supra note 10.


                                         23
        CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 25 of 126




Agri Stats was so detailed that clients frequently requested the site visits by Agri Stats

employees to assist the co-conspirators in understanding the intricacies and implications

of the data. Agri Stats’ employees each possessed expertise in a specific area of

production, and the value added by their insights was as important to the producers as the

data in the reports. The fee for the visits fluctuated based on the size and other factors.

        61.   A common saying by Agri Stats is “you cannot produce your way to the top

of the page.” Rather, Agri Stats has stated that “the ultimate goal is increasing

profitability – not simply increasing level of production.”

        62.   In May 2015, a subsidiary of Agri Stats, Express Markets, announced that it

was adding its market analysis of pork to its product offerings in order to meet the broad

information and knowledge needs of its customers. Express Markets had provided its

extensive pricing reports to Broiler producers since 2003. 23

        63.   By providing detailed production statistics by participants, Agri Stats

allowed each member of the conspiracy to monitor each other’s ongoing adherence to

agreed-upon plans for coordinated production limits. Critically, Agri Stats provided

forward-looking data that allowed the other Defendants to determine each other’s future

production in addition to their current production.

        64.   Agri Stats reports are organized by company and facility, but their names

are not listed in the reports. Nevertheless, while ostensibly anonymous, the reports



   23
     Steve Meyer, Paragon Economics Sold to Express Markets, National Hog Farmer,
May 26, 2015 (available at http://www.nationalhogfarmer.com/marketing/paragon-
economics-sold-express-markets).


                                          24
       CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 26 of 126




contain such detailed figures covering every aspect of pork production and sales that

participants can accurately identify the companies behind the metrics. For example, long-

time industry insiders are sufficiently familiar with each other to identify unique but

recurring data points for other companies, as well as identify the other companies by

general metrics and size.

       65.    Moreover, Agri Stats knew that the anonymity of its system was

compromised by individuals who had gleaned knowledge of competitors’ identification

numbers, but reassigning numbers was an undertaking the company was not eager to

embark on.

       66.    Suppliers received as many as one dozen books of data at the end of each

quarter, augmented by smaller monthly update books featuring the latest year-to-date

information. Within these smaller monthly books, each supplier’s own rows of year-to-

date numbers were highlighted. In the front of each book, there were also markings

indicating whose numbers were inside the book. The front of the book also included

information indicating which other companies were represented in the data, though which

number represented each competitor was not revealed.

       67.    Agri Stats mailed the reports to customers. On occasion, Agri Stats shipped

a participant’s book to one of its competitors. At times, suppliers just kept their

competitors’ books for future reference, which as noted above revealed the identity of

that participant given that their numbers were highlighted by Agri Stats in their books.

       68.    Mobility within the meat production industries led to a situation where

many workers at most pork integrator operations knew the numbers of other regional


                                         25
       CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 27 of 126




facilities, removing any anonymization of the data which existed. Agri Stats would hire

industry participants to work in its offices, and then they would return to the industry

knowing each of the allegedly “anonymous” numbers. Those working at Agri Stats were

aware of this fact, but did nothing to address it.

       69.    Agri Stats’ critical importance for a collusive scheme in the pork industry

lies not only in the fact that it supplies the data necessary to coordinate production

limitations and manipulate prices, but also in its stabilizing power. Price fixing cartels are

subject to inherent instability in the absence of policing mechanisms, as each individual

member of the cartel may have incentive to cheat on other members of the cartel, for

example by ramping up pork production to capture higher prices as other cartel members

act to limit production. Agri Stats’ detailed production statistics serve as an indispensable

monitoring function, allowing each member of the cartel to police each other’s

production figures (which were trustworthy because they had been verified) for signs of

cheating.

       70.    In a February 15, 2017, Bloomberg article relating to Agri Stats’ roles in

the Broiler industry, it was reported:

              Peter Carstensen, a law professor at the University of
              Wisconsin and former Justice Department antitrust lawyer
              who has studied Agri Stats while researching the modern
              poultry industry, casts the level of plant-by-plant detail in the
              company’s reports as “unusual.” He explains that
              information-sharing services in other industries tend to deal in
              averaged-out aggregated data—for example, insurance rates
              in a given state. Such services run afoul of antitrust law, he
              says, when they offer projections or provide data so detailed
              that no competitor would reasonably share it with another.
              Getting detailed information is a particularly useful form of


                                          26
          CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 28 of 126




                collusion, Carstensen says, because it allows co-conspirators
                to make sure they’re all following through on the agreement.
                “This is one of the ways you do it. You make sure that your
                co-conspirators have the kind of information that gives them
                confidence—so they can trust you, that you’re not cheating
                on them,” he says. “That is what creates stability for a
                cartel.” 24

D.        Defendants controlled the supply and production of pork in the United States,
          which allowed the scheme to succeed.

          71.   The class period was further characterized by the increased control over the

breeding, production, growing, and processing of pork by the Defendants through vertical

integration and the exclusive production contracts with hog farmers.

          72.   Vertical integration is so pervasive that Defendants are commonly called

pork or swine integrators by the industry, government, analysts, and academics. Vertical

integration allows the integrator Defendants to directly control the production and supply

of pork through their wholly owned and operated farms where the hogs are raised, fed,

and prepared for slaughter. Fully integrated companies have broad control over

production processes, and near-total operational discretion in deciding how much to

produce and when.

          73.   Under pork production contracts, “a contractor or integrator provides pigs

or breeding stock, feed, and other services to a producer or grower who manages the hogs

at his or her farm until animals are ready for market or transfer to other farms.” 25 This


      Christopher Leonard, Is the Chicken Industry Rigged, Bloomberg, (Feb. 15, 2017),
     24

(available at https://www.bloomberg.com/news/features/2017-02-15/is-the-chicken-
industry-rigged) (emphasis added).
      Allen Harper, Hog Production Contracts: The Grower-Integrator Relationship,
     25

Virginia Cooperative, Virginia Cooperative Extension (2009).


                                          27
       CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 29 of 126




arrangement essentially converts independent farmers into contract employees that

perform services for the pork integrator. The Defendants typically pay only fixed service

fees to the farmers, who bear the investment costs of the hog-raising facilities. The pork

integrators (i.e., Defendants) typically retain ownership of the hogs and set the terms for

how they are raised, allowing them to further control the supply of the pork on the

market. The prevalence and use of contracts for hog production by Defendants increased

significantly during the course of the conspiracy. By 2017 it was reported that there were

only a small handful of independent producers who sell any hogs to the open market for

transparency as far as bid prices.

       74.    Pork production starts at the farrowing stage—which is the term used to

describe a female hog giving birth. Female hogs used in the farrowing stage are called

sows. Sows will normally have anywhere from 11 to 13 pigs per litter. With a sow being

able to farrow close to three times a year, one sow can have around 36 piglets in one year.

After birth piglets grown for meat consumption are moved to a nursery for about six to

eight weeks or until the pig weighs upwards of 50 pounds. At the last stage of production,

the pigs will spend around 16 weeks in a finishing barn, reaching a final weight of over

250 pounds. After the pigs reach their final weight, they are sent to a packing plant to be

harvested. Due to the nature of the pork production cycle, the reduction of sows—i.e.

farrowing hogs—has a significant impact on the supply of pork.

       75.    The following diagram shows the path for pork raised for meat

consumption from birth through sale to consumers:




                                        28
       CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 30 of 126




                     Figure 1: Value Chain of U.S. Pork Market




       76.    Under economic theory, vertical integration can have anticompetitive

effects because there are fewer firms competing at all levels, which renders it easier to

collude on price.

       77.    During the class period Defendant Smithfield has the distinction of being

the largest producer and processer of pork in the United States. In 2014, Smithfield had

approximately 500 company-owned farms and approximately 2,190 contract farms in the

United States. Smithfield described its arrangement with contract farms as follows:

              Under our contract farm arrangements, contract farmers
              provide the initial facility investment, labor and frontline
              management in exchange for fixed service fees to raise hogs
              produced from our breeding stock under agreements typically
              ranging between five and ten years. We retain ownership of
              the hogs raised by our contract farmers. In 2014,




                                        29
         CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 31 of 126




               approximately 76% of Smithfield’s hogs produced in the U.S.
               were finished on contract farms. 26

         78.   In 2009, Seaboard raised approximately 75% of the hogs processed at its

Guymon, Oklahoma plant with the remaining hog requirements purchased primarily

under contracts from independent producers. 27 In its 2017 SEC 10-K report, Defendant

Seaboard Corporation states that it raises “over five million hogs annually primarily at

facilities owned by Seaboard or at facilities owned and operated by third parties with

whom Seaboard has grower contracts.” 28

         79.   Defendant Clemens Food Group touts its vertical coordination on its

website stating that, “Our vertically-coordinated company directly oversees the entire

production chain, from the farm all the way to our retail and foodservice customers.” 29 A

key part of Clemens’ vertical coordination efforts includes utilizing a hog procurement

and production subsidiary, Country View Family Farms, which manages a network of

250 farms raising hogs under contract throughout Indiana, New York, Ohio, and

Pennsylvania. 30

         80.   As JBS Foods stated in its 2014 annual report, “The meat production of

JBS Foods is vertically integrated, whereby the company produces 100% of its poultry


   26
        Smithfield Foods Annual Report, at p. 27 (2014).
   27
        2009 Seaboard Annual Report, at p. 11.
   28
        Seaboard Corporation Annual Report, at p. 2 (2017).
   29
       See Clemens Food Group, Vertically Integrated Purposefully Coordinated
(available at http://www.clemensfoodgroup.com/our-company/vertically-coordinated).
   30
       See id.; see also The Clemens Family Corporation Companies (available at
http://www.clemensfamilycorp.com/pages/companies.aspx).


                                         30
       CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 32 of 126




supply and 95% of its pork supply. This provides it with greater control over the health

and nutrition conditions of the animals, ensuring quality, food safety and efficiency in the

production and cost of its products.” Furthermore, a key aspect of JBS’ purchase of its

predecessor in interest, Cargill, in 2015 was that it allowed JBS to exercise greater

control over the production of hogs, by acquiring four hog farms and two packing plants

operated by Cargill.

       81.    Triumph was created with vertical integration in mind as it is owned by five

of the largest pork producers in the U.S.— Christiansen Farms, The Hanor Company,

New Fashion Pork, TriOak Foods, and Eichelberger Farms—as well as Allied Producer’s

Cooperative, a group of producers in Iowa, Nebraska, Kansas, and Minnesota. The

relationship with these owner producers allows Triumph to control the pork production

process from start to finish.

       82.    As Defendant Tyson stated in its 2009 10K Report, “The majority of our

live hog supply is obtained through various procurement relationships with independent

producers.” As set forth above, these procurement contracts are controlled and dictated

by Tyson which exercises tremendous market power over hog formers. Additionally,

Tyson raises a number of weanling swine to sell to independent finishers and supply a

live swine for its processing needs.

       83.    Defendant Indiana Packers states on its website, “We’re a fully integrated

pork company operating entirely within the heart of the Midwest, so our team members

can better partner with our surrounding farm neighbors to produce the freshest, highest-




                                         31
           CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 33 of 126




quality products.” 31 “With our Midwest family-farm sourcing, pork-exclusive expertise

and vertically integrated operation, it’s no wonder customers from all sectors of the food

industry trust Indiana Packers to be their primary pork supplier.” 32

           84.   Hormel is a vertically integrated company with control over live hog

operations as well as pork processing and production facilities. As Hormel stated in its

2009 annual report that, “[t]he live hog industry has evolved to very large, vertically

integrated, year-round confinement operations operating under long-term supply

agreements.” Accordingly, Hormel “uses long-term supply contracts to ensure a stable

supply of raw materials while minimizing extreme fluctuations in costs over the long

term” accounting for 93% of the hogs purchased by Hormel in 2009.

           85.   Each of the Defendants further controls the manner in which pork is

processed and has the ability to restrict and reduce supply through a number of means

including capacity reductions, controlling slaughter rates, and exports. Defendants

including Smithfield, Clemens, Tyson, Hormel, Indiana Packers, Seaboard, Triumph, and

JBS sell packaged pork under various name brands.

E.         The level of concentration in the pork industry was optimal for Defendants’
           collusive scheme.

           86.   The United States Department of Agriculture (“USDA”) has stated that

high levels of market concentration allow the largest participants to extract more of the




     31
          https://indianapackerscorp.com/ (viewed on August 27, 2019).
     32
          Id.


                                           32
        CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 34 of 126




economic value from food transactions, but “consumers typically bear the burden, paying

higher prices for goods of lower quality.” 33

        87.   The hog integration sector is horizontally concentrated (only a few

companies buy, slaughter, and process the majority of hogs) and vertically integrated

(pork packers have tight contractual relationships with hog producers throughout all

stages of production). Meatpacking concentration levels are among the highest of any

industry in the United States, and well above levels generally considered to elicit non-

competitive behavior and result in adverse economic performance.

        88.   Prior to and in the beginning of the Class Period, the pork industry

underwent a period of unprecedented concentration, resulting in a small number of pork

integrators controlling a large amount of market share. Between 1988 and 2015, the top

four pork integrators (Smithfield, Tyson, JBS, and Hormel) increased their market share

from 34 percent in 1988 to just under 70 percent by 2015. As shown in Figure 2 below,

the top eight integrators had market share of well over 80 percent for the entire Class

Period:




   33
       John King (USDA), Concentration and Technology in Agricultural Input
Industries, at p. 2 (March 2001).


                                         33
       CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 35 of 126




             Figure 2: Market Share of Top 8 Pork Integrators 1991 to 2017




       89.     In July 2015, JBS USA announced it would acquire Cargill’s pork business

for $1.45 billion. The acquisition joined the third and fourth largest pork packing

companies to surpass Tyson and became the second largest hog processor in the United

States, behind only Smithfield. As noted above, the acquisition allowed JBS to exercise

greater control over the production of pork, by acquiring four hog farms and two packing

plants operated by Cargill.

       90.     The acquisition was completed in October 2015 and resulted in further

consolidation in the industry. The resulting pork business had pro forma net revenue of

approximately $6.3 billion, and a processing capacity of about 90,000 hogs per day and



                                       34
        CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 36 of 126




two million pounds of bacon per week. After the acquisition closed, the new JBS-Cargill

entity was twice as large as the next largest pork integrator (Hormel) and four times

larger than the fifth and sixth largest firms (Triumph and Seaboard, each with under five

percent of the national slaughter capacity).

        91.   The following timeline summarizes notable mergers between pork

integrators since 1995 which led to an increased market concentration:

                     Figure 3: History of Mergers and Acquisitions




        92.   As shown in Figure 4 below, by 2016, the top six pork processors

comprised 82% of the total market. On their own, it would be difficult for any of these

supposed competitors to exercise market power. But acting as a whole to manipulate the

price of pork products, the combined market share of the six largest Defendants translates

into an HHI 34 of 6724 (ignoring other pork processors that comprise the other 18% of the

market), which is well above the threshold for highly-concentrated markets. In other

words, if Defendants colluded with one another to restrict the supply of pork in the

market, as alleged herein, the resulting market concentration of such concerted action

   34
     “HHI” means the Herfindahl-Hirschman Index, a measure of market concentration
used by the Department of Justice. See https://www.justice.gov/atr/herfindahl-hirschman-
index. A HHI value of 1,500 to 2,500 suggests a market is moderately concentrated. A
HHI in excess of 2,500 points suggests a market is highly concentrated.


                                         35
         CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 37 of 126




gave them more than sufficient power to control the pork market. Even without

combining the largest six Defendants, the pork industry has a “moderately concentrated”

HHI of 1532.

                    Figure 4: 2016 Pork Processing Market Shares 35

                   Company          Share HHI - Independent HHI - Collusion
                   Smithfield        26%                676
                   JBS               20%                400
                   Tyson             18%                324
                                                                       6724
                   Hormel Foods       8%                 64
                   Triumph Foods      5%                 25
                   Seaboard Farms     5%                 25
                   Others            18%                 18              18

                   Total            100%              1532            6742

         93.   The concentration level in the pork integration industry was optimal for

collusion. WH Group Limited, the parent company of Smithfield, characterized the U.S.

pork integration industry as “relatively mature and concentrated.” 36 Both of these factors

– maturity and concentration – make an industry more susceptible to collusion.

         94.   The level of concentration in the pork integration industry therefore rested

in an ideal zone for collusion. Because the industry was dominated by a relative handful

of integrators, it was feasible to manipulate price through an agreement among the

relatively few dominant players, whose market power greatly simplified the

organizational complexity of the price-fixing agreement. Further, because the largest




   35
     Ken Sullivan, Globalization of Agriculture: An Ownership and Market Perspective
(March 7, 2017).
   36
        WH Group Interim Report, at p. 5 (2017).


                                           36
        CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 38 of 126




integrators were incapable of independently controlling prices on their own, such an

agreement was necessary to inflate prices.

        95.   Concentration of the industry is also beneficial to the procurement of hogs

by the pork processors. In some regions, consolidation has resulted in cases where only

one pork processor is left to buy hogs from independent farmers, leaving the farmers with

no leverage when negotiating terms with the pork processors. 37

        96.   In addition to market concentration, market stability is consistent with an

agreement to fix prices, as is greater instability before or after a conspiracy. The

following chart shows not only that the Defendants’ collective share of the market was

high throughout the class period, but also that each individual defendant’s market share

was largely stable throughout:




   37
     Wise, Timothy A and Sarah E. Trist, “Buyer Power in U.S. Hog Markets: A Critical
Review of the Literature”, Global Development and Environment Institute, Working
Paper No. 10-04, August 2010, at pp. 3 and 11.


                                        37
       CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 39 of 126




             Figure 5: Market Concentration and Market Share Stability –
                    U.S. Market Share by Hog Slaughter Capacity




       97.      The following figure shows that there was a substantial drop in market

share volatility during the class period:




                                            38
        CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 40 of 126




   Figure 6: Standard Deviation of Combined Defendant Market Share Pre- and
                               Within Class Period




        98.   Large barriers to entry kept potential competitors out of the pork integration

industry. New entry into pork processing is costly and time consuming. Construction of a

large-scale slaughter facility would take hundreds of millions of dollars and the additional

planning, design and permitting costs are substantial. In 2012, it cost Cargill $25 million

just to expand an existing facility. Building a facility from scratch would be considerably

more, totaling hundreds of millions of dollars. 38



   38
      Anticompetitive Impacts of Proposed JBS-Cargill Pork Acquisition, at 4 (White
Paper) at p. 7.


                                          39
          CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 41 of 126




          99.    The prevalence of contracts in the market for hogs also serves as a barrier

to entry. Most of the hogs produced in the U.S. are sold under a multi-year contract,

typically to one of the Defendants. And in other situations, the processor owns the hog

from farrow to finish. Even if a market entrant were able to outlay capital for the

production of a new processing facility, it would have trouble finding enough hogs to

operate that facility profitably. 39

F.        The inelastic demand for, and homogeneity of, pork products facilitated
          collusion

          100.   Markets with a highly inelastic demand can help facilitate collusion as

manufacturers have the ability to raise prices without a significant impact on quantity

demanded. Price elasticity of demand (PED) is a measure used to quantify the degree to

which quantity demand for a good or service changes with respect to price. 40 A PED

value between 0 and -1 indicates there is inelastic demand for the good or service, i.e., a 1

percent increase in price induces a less than 1 percent decrease in quantity demanded.

The average PED estimate for the pork market was -0.64 – meaning the demand for pork

is inelastic.




     Timothy A. Wise and Sarah E. Trist, Buyer Power in U.S. Hog Markets: A Critical
     39

Review of the Literature, Global Development and Environment Institute, Working Paper
No. 10-04 (August 2010), at p. 12.
      See, e.g., Jeffrey M. Perloff, Microeconomics with Calculus, 28-31 (2d Ed.);
     40

Patrick L. Anderson, et al., Price Elasticity of Demand (Nov. 13, 1997),
https://scholar.harvard.edu/files/alada/files/price_elasticity_of_demand_handout.pdf;
Gadi Fibich, Arieh Gavious & Oded Lowengart, The Dynamics of Price Elasticity of
Demand in the Presence of Reference Price Effects, 33 J. Academy Mktg. Science 66-78
(2005), available at http://www.math.tau.ac.il/~fibich/Manuscripts/elasticity_JAMS.pdf.


                                           40
          CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 42 of 126




          101.   Collusion becomes easier for manufacturers of a homogenous product

when prices are the only way in which products can be differentiated from one another.

Pork loins, bacon, ribs, and other pork products are produced on a commercial scale and

sold in supermarkets. For example, as alleged above, pork loin from Tyson and

Smithfield is virtually indistinguishable, with similar nutritional values, branding and

packaging. These products are highly substitutable, making it easier for competing firms

to reach an agreement on a common pricing structure. 41

G.        Defendants took advantage of numerous opportunities to collude.

          102.   Defendants are members of several industry trade associations and other

forums, which they used to facilitate their conspiratorial conduct. Pork producers have

many annual and other events through which they can communicate with one another in

person, and Defendants’ CEOs and top-level executives regularly attend these events.

          103.   All pork producers and importers in the United States participate in a

legislatively-mandated “Pork Checkoff,” under which they pay an assessment when pigs

are sold or pigs or imported into the United States. The money is used for programs to

increase pork sales and exports, for research, and for producer and consumer education

programs; funds cannot be used for lobbying or to influence government policy. The

     41
      See Preventing and Detecting Bid Rigging, Price Fixing, and Market Allocation in
Post-Disaster Rebuilding Projects, The United States Department of Justice,
https://www.justice.gov/atr/preventing-and-detecting-bid-rigging-price-fixing-and-
market-allocation-post-disaster-rebuilding (“The more standardized a product is, the
easier it is for competing firms to reach agreement on a common price structure. It is
much harder to agree on other forms of competition, such as design, features, quality, or
service.”) (last visited Aug. 16, 2018); Marc Ivaldi et al., The Economics of Tacit
Collusion (March 2003), http://ec.europa.eu/competition/mergers/studies_reports/
the_economics_of_tacit_collusion_en.pdf.


                                         41
       CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 43 of 126




assessment amount and the amount to be returned to state pork associations for local

programs is set annually by the Pork Act Delegate Body, which meets during the

National Pork Producers Council’s annual Pork Industry Forum. States are represented in

the Delegate Body in proportion to their level of hog production, and each state is eligible

to elect at least two Delegates. Executives from several integrator Defendants have

served as Pork Act Delegates.

       104.   The Pork Act Delegates also elect a 15-member National Pork Board

(“Pork Board”), whose members are officially appointed by the U.S. Secretary of

Agriculture. The Pork Board works with Pork Checkoff staff to ensure collection and

distribution of Pork Checkoff funds. Pork Board meetings have occurred in conjunction

with a number of the important annual trade association meetings described below,

including the National Pork Producers Council Pork Industry Forum, the National Pork

Industry Conference, and the World Pork Expo. Executives from several pork integrator

Defendants have served as members of the Pork Board. For example, at least three

executives associated with Smithfield Foods (Conley Nelson, Chris Hodges, and Michael

Skahill) have served on the National Pork Board or its staff. Skahill is the Pork Board’s

current Treasurer.

       105.   According to its website, “[t]he National Pork Producers Council

[“NPPC”], which consists of 42 affiliated state associations, is the global voice for the

U.S. pork industry, enhancing opportunities for the success of pork producers and other

industry stakeholders by establishing the pork industry as a consistent and responsible

supplier of high-quality pork to domestic and world markets.” Executives from the pork


                                         42
       CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 44 of 126




integrator Defendants have served on the NPPC Board of Directors during the Class

Period, including: Cory Bollum of Hormel Foods, Don Butler of Smithfield

Foods/Murphy-Brown LLC, Chris Hodges of Smithfield Foods, and Todd Neff of Tyson

Fresh Meats.

       106.    NPPC conducts its annual business meeting and election of officers and

directors during its “National Pork Industry Forum” typically held in early March each

year. NPPC advertises the National Pork Industry Forum as an opportunity for

networking, as well as attending educational sessions. The event includes a candidate

meet and greet, state caucuses, meals and receptions, and delegate sessions.

       107.    In addition to its annual National Pork Industry Forum, NPPC sponsors

many other programs that have provided ample opportunities for defendants to meet with

each other in person, including:

               •     The annual “World Pork Expo” at the Iowa State Fairgrounds

                     advertised as the “world’s largest pork-specific trade show.” It

                     includes exhibits, seminars (including market outlook presentations),

                     a golf tournament, and pre-show tours of industry-related

                     organizations (including tours of producer farms). The National Pork

                     Board has conducted its annual meeting to elect new officers during

                     the World Pork Expo.

               •     Legislative Action conferences each spring and fall in Washington

                     DC.




                                        43
        CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 45 of 126




               •     A public policy Leadership Institute, which brings small groups of

                     pork industry representatives together for a “comprehensive”

                     training program “designed to develop future leaders for the pork

                     industry.”

        108.   The National Pork Industry Conference (“NPIC”) has taken place in the

Wisconsin Dells each July since 2010 (and in the Ozarks before that). Descriptions on the

conference website have said that NPIC “is the largest annual conference in the US that is

held for the swine industry,” and has had 750 to “over 900” attendees each year,

representing “the Top 150 pork production systems in North America.” After the 2009

conference, Mark Greenwood, a Senior VP at lender AgStar, wrote in “Hog Farmer” that

the swine industry must reduce sow numbers by at least 300,000 to 500,000 and urged

“the larger production systems” to “follow Smithfield’s and Tysons’ lead on reducing

sow numbers.” 42 In July 2010, the Pork Checkoff website noted that pork producers had

responded to lower prices in 2009 “by reducing the size of the national herd” and “[a]s a

result, prices have rebounded.” 43 The website for the 2016 NPIC conference emphasized

networking opportunities and promoted the “Focusing on Markets” session “led by

industry economic experts.” Seaboard Foods and Smithfield Foods are among the

integrator Defendants whose executives have been session presenters at NPIC.


   42
      Mr. Greenwood was also a presenter at the 2018 NPIC, discussing swine operation
financials.
   43
     See National Pork Board to meet during National Pork Industry Conference, Pork
Checkoff (July 8, 2010) (available at https://www.pork.org/news/national-pork-board-
meet-national-pork-industry-conference/).


                                        44
       CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 46 of 126




       109.   Upon information and belief, CEOs and top level executives from

Defendants attending NPIC and NPPC events discuss topics with one another relating to

pricing, production, and other non-public, proprietary information in a number of

informal settings. These regular, informal, and in-person opportunities to discuss pricing

and production in the pork industry give CEOs and top level executives comfort that their

competitors remain committed to a plan to artificially restrict pork production.

       110.   In addition to the large pork industry associations, there are smaller pork

clubs that permit members to meet regularly and privately discuss competitive issues. For

example, the 21st Century Pork Club, founded in 1997 by former NPPC executive Larry

Graham, meets twice a year. A March 2011 AgriMarketing article about the club states

that it consisted of “60 industry stake holders” and that since its inception, the club’s two

rules have been “nothing that was said in the meeting was to be repeated outside the

group, with a name attached” and members will be dismissed from the group if they miss

two meetings in a row without a valid reason.

       111.   Defendants were able to meet with each other not only at pork-specific

events, but also at the many meetings, conferences, conventions, and expositions

sponsored by the North American Meat Institute (“NAMI”), its predecessor, the

American Meat Institute (“AMI”), and other organizations.

       112.   Until its 2015 merger into NAMI, AMI described itself as “the nation’s

oldest and largest meat and poultry trade association.” AMI’s website routinely boasted

that AMI’s Packer and Processor Members “cover 95 percent of the nation’s beef, pork,

lamb and veal products and 70 percent of the nation’s turkey products” and touted the


                                         45
       CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 47 of 126




“excellent networking and information-sharing opportunities for members of the

industry” provided by AMI’s “many meetings and educational seminars.”

      113.   NAMI was formed in 2015 by merging the AMI and the North American

Meat Association. The NAMI website contains similar information, stating that NAMI is

“a national trade association that represents companies that process 95 percent of red

meat and 70 percent of turkey products in the US and their suppliers throughout

America,” and its “many meetings and educational seminars … provide excellent

networking and information-sharing opportunities for members of the industry.”

      114.   All of the Defendants (or their closely-affiliated companies) have been

members of AMI and then NAMI throughout the Class Period. Executives from the pork

integrator Defendants have served on the AMI and NAMI Board of Directors during the

Class Period, including:

             a.     Mark Campbell and Rick Hoffman of Triumph Foods;

             b.     Doug Clemens and Phil Clemens of Clemens Family Corporation;

             c.     Tom Hayes, Jim Lochner, Mike Larson, and Sara Lilygren of Tyson

                    Foods, Inc., as well as Greg Schweitzer of Sara Lee/Hillshire Brands

                    (later acquired by Tyson Foods);

             d.     Michael Skahill, Keira Lombardo, Robert “Bo” Manly, and Larry

                    Pope of Smithfield Foods, Inc.;

             e.     Gary Louis, Rod Brenneman and Terry Holton of Seaboard Foods;

             f.     Andre Nogueira, Wesley Batista, Martin Dooley, Rich Vesta, and

                    Bill Rupp of JBS USA;


                                       46
       CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 48 of 126




              g.     Jim Snee, Stephen Binder and Jeffrey Ettinger of Hormel Foods

                     Corporation; and

              h.     Gary Jacobson and Russ Yearwood of Indiana Packers Corporation.

       115.   Almost all of these executives also serve or have served on the 25-person

AMI and/or NAMI Executive Committees, and several have been among the five officers

of AMI or NAMI, including Sara Lilygren, of Tyson Foods, Jeffrey Ettinger of Hormel

Foods Corporation, and Rod Brenneman of Seaboard Foods.

       116.   Throughout the Class Period, AMI (through 2014) or its offshoot the

American Meat Institute Foundation (since 2015) has co-sponsored (with the Food

Marketing Institute) the industry’s “Annual Meat Conference.” The conference website

describes the conference as “a complete education and networking experience.” Many of

the Defendants’ high-level executives attend the conference. For example, registered

attendees in 2012 included Steven Binder, then the Executive VP President Hormel

Business Units of Hormel Foods Corporation, as well as eight other Hormel executives;

eight executives from JBS USA; Donnie Smith, then CEO of Tyson Foods, along with

twelve other Tyson executives; Chris Hodges, then Senior Vice President, Smithfield

Foods and ten additional Smithfield Foods executives; and Blair Snyder and Brian

Snyder, Chairman of the Board and President, respectively, of Agri Stats.

       117.   Throughout the Class Period, the Annual Meat Conference has included a

plenary session focused on how economic issues affect the meat industry, usually entitled

“The Economy and Its Impact on Your Business” or “Market Outlook for Meat and

Poultry.” All (or almost all) of these sessions included a presentation on the pork industry


                                         47
       CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 49 of 126




by Steve Meyer, Ph.D., President of Paragon Economics until 2015 and then Vice

President of Pork Analysis at Express Markets, Inc. (a subsidiary of Agri Stats, Inc.)

through 2017. The description for the 2015 presentation stated that it would address “how

you may need to adapt your business because of consumer spending trends,

unemployment rates and industry capacity.” (emphasis added.) The descriptions of the

2016, 2017, and 2018 sessions were virtually identical to each other: “The economic

impact of changing meat, poultry, and livestock supply and demand conditions provide

challenges for producers and retailers alike. This session will take an in-depth look at the

beef, pork, and poultry markets and explore how factors including weather, animal

health, and changing export markets continue to impact domestic availability and prices.

Understanding changes in consumer spending and worldwide economic trends, combined

with the knowledge of what to expect in livestock markets, will help you prepare for the

coming years.” The 2016 through 2018 plenary sessions were followed by a “Market

Outlook Extended Q&A” for small group discussion.

       118.   Until 2016, first AMI and then NAMI held an Annual Meeting and Outlook

Conference each fall. The NAMI website described the 2015 annual meeting as “a great

networking and educational opportunity for the entire industry” with presentations on

“key industry topics . . . as well as outlook sessions for 2016 and the member to member

education provided by Issues Answers Action.” Scheduled presenters at the Annual

Meeting and Outlook Conference have included Cameron Bruett of JBS in 2015, and Phil

Clemens of The Clemens Family Corporation in 2016.




                                         48
       CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 50 of 126




       119.   For years, NAMI also sponsored an annual “Meat Industry Management

Conference.” NAMI promoted the 2015 meeting as focusing on a variety of topics,

including “economics, and general business topics” and an “always popular Answers

Actions session” that “provides structured member interaction on a variety of issues and

topics.” The NAMI board met during the 2015 Management Conference.

       120.   In April 2017, NAMI replaced the Annual Meeting and Outlook

Conference and the Meat Industry Management Conference with an annual “Meat

Industry Summit.” In addition to education sessions, the summit has included,

“networking opportunities and social events,” including a golf tournament, receptions,

and an Issues, Answers, Actions Breakfast, as well as the annual Board of Directors

meeting and what one publication described as “closed door committee meetings to

discuss policies and association business.” The 2017 Summit included a presentation by

John Nalivka of Sterling Marketing entitled “Economic Outlook for the Red Meat

Industry,” described as an “analysis of supply and demand and price forecasts” to “cover

all aspects of the supply chain, and help your business prepare for the years ahead.”

       121.   AMI sponsored the “International Meat, Poultry & Seafood Convention and

Exposition” in 2009, 2011, and 2012. In at least 2009 and 2011, AMI conducted its

business meeting during the Expo, electing members of its board of directors.

       122.   In January 2013, AMI’s International Meat, Poultry & Seafood Convention

and Exposition was integrated into the “International Production and Processing Expo”

(“IPPE”), co-produced by AMI and poultry and feed trade associations. Promotional

materials for the 2014 IPPE indicated that attendees included defendants Clemens Food


                                        49
          CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 51 of 126




Group, Hormel Foods, Hillshire Brands, JBS, Seaboard, Smithfield Foods, Triumph

Foods, and Tyson. After AMI’s 2015 merger into NAMI, NAMI became (and still is) a

presenting sponsor, along with the poultry and feed trade associations.

H.        Defendants implemented capacity and supply restraints during the Class
          Period.

          1.     Summary of Defendants’ Conspiratorial Supply Restraints

          123.   In the years leading up to the conspiracy period the steady expansion of

pork production was virtually a given. As one industry commentator reported in 2007,

“Some things you can just take to the bank. Sow herd expansion among the Pork

Powerhouses would fall into that category – even in the face of the biggest run-up in feed

prices in history.” 44

          124.   This historical trend changed markedly during the conspiracy period. As

demonstrated in Figure 7 below, at several points during the Class Period, the pork

integrators changed their behavior and acted in a concerted way to decrease supply. In

2009, 2010, and again in 2013, the pork industry cut production. 45 (The production dip in

2014 reflected the adverse impacts from the deadly pig disease, porcine epidemic

diarrhea virus, which took place in the spring and summer of 2014.) These production




     44
          Freese, Betsy, Pork Powerhouses 2007: Run-Up In Rations (Oct. 3, 2007).
     45
       See U.S. I.T.C. Office of Industries, “Pork and Swine industry and Trade
Summary” at 2 (Pub. ITS-11 Oct. 2014) (noting that slaughter capacity utilization
generally declined between 2008 and 2013); id. at 19 (stating that the number of animals
kept for breeding by U.S. swine producers declined between 2008-2010, and that in 2012
the number of animals kept for breeding remained 5 percent below the level observed in
2008).


                                          50
         CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 52 of 126




decreases marked a drastic change from the period prior to the conspiracy from 2000

through 2009, in which pork supply was stable and steadily increasing on a yearly basis.

        Figure 7: U.S. Annual Commercial Hog Production by Weight, 2000-2017




         125.   These supply cuts were coordinated, historic and unprecedented. For

example, in September 2009, Pork Powerhouses—which publishes reports and articles

relating to pork production—published an article entitled “Big Boys Cut Back” and

reported that “[f]or the first time since the annual Pork Powerhouses ranking was

launched in 1994, the nation's largest 25 producers have cut sow numbers. These

companies report 200,000 fewer sows than one year ago, a drop of 6.4%. 46

         126.   At the same time, pork producers were further reducing domestic supply by

devoting more and more production exports to overseas markets. The U.S. has been a net

exporter of pork products for a long time, but those exports have comprised a much larger

   46
        Freese, Betsy, Pork Powerhouses 2009: Big Boys Cut Back (Sep. 14, 2009).


                                         51
CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 53 of 126
         CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 54 of 126




         127.   As part of their acts and conduct in furtherance of the conspiracy, each of

the Defendants participated in these supply restraints. While the conspiracy was self-

concealing in nature, the limited publicly available sources of information available

regarding Defendants’ supply decisions evidences these supply constraints. These supply

restrictions included, but were not limited to, the conduct described herein.

                a.    Smithfield

         128.   In 2008 Smithfield stopped making traditional production increases and

instead cut its number of sows, reporting that ,“We are focused on reducing the number

of pigs that come off sow farms, and making sure the ones that come off are worthy of

the investment in feed.” 47 In 2009, Smithfield confirmed publicly that it had already

reduced the size of its U.S. herd by two million market hogs annually, and it was

initiating a further reduction of 3% of its U.S. sow herd, effective immediately.

Smithfield made additional production cuts in 2010, reporting a cut in its domestic sow

herd by 5% (about 45,000 sows). In 2011, despite increasing margins, Smithfield

continued to downsize its sow herd, and vowed publicly that it did not intend to increase

capacity.

         129.   Smithfield also focused an increasing portion of its production on exports,

with its sister company in China, Shuanghui Development, opening a plant in China in

2015 to turn pork sourced from Smithfield in the U.S. into packaged meat with the

Smithfield label.



   47
        Freese, Betsy Pork Powerhouses 2008: The Big Squeeze (Sep. 4, 2008).


                                          53
        CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 55 of 126




               b.    Tyson

        130.   Between 2008 and 2009 Tyson cut its sows by over 25%, marking a

significant reduction. In 2010 Tyson reported a 3.3% decrease in its Pork sales volume

coupled with increased export sales, which also accounted for a decrease in its capacity

utilization rate. In 2013 Tyson reported a 3.6% decrease in sales volume and decrease its

capacity utilization in an effort to “balance[ ] our supply with customer demand.”

               c.    JBS/Cargill

        131.   In 2011 JBS USA reported that in the prior two years its pork export

volume had grown from 15% to 20% of total production at JBS USA. Also, after

acquiring Cargill’s hog production facilities, JBS reduced the number of sows it produced

in 2016 despite increased consumer demand. This production restriction had the intended

effect: according to JBS’s 2016 annual report, “pork prices were 18% higher year on year

at the end of 2016, on the back of increased demand and output restrictions.”

               d.    Hormel

        132.   Hormel’s production statistics show that it cut its number of sows in 2008

and maintained such reduced production throughout the class period. Hormel further

reported tonnage reductions for its pork operations in its 2009 Annual Report. This is

consistent with Hormel CEO’s statement in January 2009 that Hormel would “certainly

look for opportunities particularly in January where we could reduce the numbers [of

hogs] that we had going through.” 48 Hormel also reported lower sales of pork products in

2013. In June 2014, it was reported that Hormel reduced its capacity at its Los Angeles

   48
        Q1 2009 Hormel Foods Corporation Earnings Call Transcript (Feb. 19, 2009).


                                        54
         CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 56 of 126




plant by 500 head per day. Hormel reported strong earnings from its pork exports in

2011.

                e.    Seaboard

         133.   Throughout the class period, including in 2010 and 2011, Seaboard placed

an increasing emphasis on exports and increased its volume of export sales to foreign

markets. 49 Seaboard dedicated several employees to international sales and exports.

Seaboard also reduced supply in 2013 and, once again, these reductions had their

intended effect—higher pork prices. Despite having an almost identical capacity as in

2012, it reported in 2013 that it had “lower sales volume of pork products in the domestic

market” which resulted in “higher prices for pork products sold in the domestic

market.” 50 Moreover, in 2017 Seaboard announced that it would delay establishing a

second shift at the Seaboard Triumph Foods processing facility.

                f.    Triumph

         134.   In September 2008, Christensen Farms, a member of Triumph Foods,

reported that it had cut back 11,000 sows. In 2009 Triumph reported substantial cutbacks

of approximately 24,500 sows, representing over 6% of its sow herd, contributing to

historic production restraints in the pork industry. Additionally, Triumph focused its

production on exports, and stated on its website that it is one of the top exporters of pork


   49
      See e.g. 2010 Seaboard Annual Report (“export volumes increased particularly to
our higher valued markets in the Far East while domestic volumes nearly kept pace with
2009.”); 2011 Seaboard Annual Report (“Exports of US pork were up 23% to an all-time
record as demand from the usual countries remained strong and the US continued its role
as the main supplier.”).
   50
        See Seaboard 2013 Annual Report.


                                         55
       CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 57 of 126




products worldwide. These exports constituted a significant portion of its production

throughout the class period, and reduced or otherwise limited Triumph’s production in

the United States.

              g.     Clemens

       135.   In 2011 Clemens reported production of 1,000 fewer sows through its

subsidiary Hatfield Quality Meats. Furthermore, in 2014 Defendant Clemens had a

competitive advantage over many pork producers, in that it had few PEDv infected pigs.

But contrary to what one would expect to see in a competitive market, Clemens did not

utilize its advantage and refused to increase its market share when it clearly had

substantial market incentives to do so.

              h.     Indiana Packers

       136.   Indiana Packers is a private company with limited information available to

the public regarding its production statistics. Nevertheless, in 2012 Indiana Packers

indicated that it expected to reduce the number of hogs or pounds of pork processed at its

facilities ostensibly because of high corn prices.

       2.     Timeline of the Conspiracy

       137.   As set forth herein, each of the aforementioned supply reductions during

the class period were a departure from the integrator Defendants’ market behavior prior

to the conspiracy period. These supply restrictions involved a significant share of the

Defendants’ annual production and are in contravention of Defendants’ individual

economic self-interest. These unprecedented supply restriction strategies were a part of a

coordinated antitrust conspiracy by competitors to reduce and restrict supply in order to



                                          56
         CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 58 of 126




artificially, fix, raise, and stabilize the price of pork. While Defendants went to great

lengths to maintain the secrecy of their unlawful anticompetitive agreements, they

disclosed certain of their supply restriction efforts in public earnings calls and other

sources. As with their use of Agri Stats, Defendants exploited these public statements in

order to communicate their planned supply restrictions to their competitors in furtherance

of the conspiracy, and couched the public disclosures in pretext so as to conceal what was

really occurring. Although purchasers would not typically track and account for these

statements, Defendants were, they have been unearth during the course of their

investigation and are summarized below.

         138.   Defendants’ conspiracy to restrict pork supply began in the last part of

2008. That same month, Joe Szaloky, director of financial planning and analysis with

Murphy-Brown LLC, the production arm of Smithfield Foods, said “[w]e are focused on

reducing the number of pigs that come off sow farms, and making sure the ones that

come off are worthy of the investment in feed.” 51

         139.   In October of 2008, Hormel CEO Jeffrey Ettinger confirmed during an

earnings call that he expected to see a 3% reduction in overall pork supply in 2009. 52

         140.   During Hormel’s first quarter earnings call in January 2009, Mr. Ettinger

once again communicated that he expected supply to decrease in 2009. Hormel CFO Jody




   51
        Freese, Betsy Pork Powerhouses 2008: The Big Squeeze (Sep. 4, 2008).
   52
        Q4 2008 Hormel Foods Corporation Earnings Call Transcript (Oct. 26, 2008).


                                         57
         CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 59 of 126




Feragen confirmed that Hormel would “certainly look for opportunities particularly in

January where we could reduce the numbers that we had going through.” 53

         141.   Throughout 2009, pork industry participants noted the need to follow the

supply restrictions imposed in the broiler industry. For instance, in February 2009,

AgStar VP Mark Greenwood called on U.S. Pork producers to follow the lead of the

broiler and dairy industries by reducing production, noting that the U.S. pork industry

needed to reduce the sow herd by 5-10%, which at the low end would mean reducing the

nation’s sow herd by 300,000 sows.

         142.   In May 2009, Larry Pope, the CEO and President of Smithfield, stated:

                In terms of chronology of how I say we proactively managed
                this business, in February of last year--February of ‘08, not
                February of ‘09--we made the decision with the over-supply
                of livestock to take the leadership position and start
                reducing our sow herds because we saw the overproduction
                and the oversupplies of the hogs into the market, which was
                driving our hog market down. We started a reduction of
                50,000 sows and 1 million of our 18 million pigs, we started
                taking out of the system. 54

         143.   In May 2009, Hormel confirmed that “[w]e see a contraction in the overall

supply of hogs for the year but not as much as we’d originally anticipated. And I would

expect that prices will be somewhat less than last year, but higher than what we’ve seen

in the first half of the year.” 55


   53
        Q1 2009 Hormel Foods Corporation Earnings Call Transcript (Feb. 19, 2009).
   54
       Smithfield Foods at BMO Capital Markets Agriculture, Protein &
Fertilizer Conference – Final (May 13, 2009) (emphasis added).
   55
     Q2 2009 Hormel Foods Corporation Earnings Conference Call – Final (May 21,
2009).


                                         58
        CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 60 of 126




        144.   In June 2009, the CEO of Smithfield stated that the current cuts were not

enough and more were needed to “fix” the hog industry and that “[s]omebody else has

got to do something”:

               One of the things that we’re doing is managing what you can
               do and the 3% relates to one of our operations and it’s our --
               I’ll tell you, it’s our Texas operation that sells pigs to
               seaboard. Seaboard knows that. . . . That 3%, let me say that,
               our 3% will not fix the hog industry. That part I’m
               confident of. Somebody else has got to do something. We cut
               13%. The first 10% didn’t fix it. I don’t think us going from
               10 to 13 is going to fix the hog business. 56

        145.   In July 2009, Smithfield’s CEO went on to note in Smithfield’s annual

report in July 2009: “I strongly believe that the hog production industry has reached an

inflection point where, due to deep and extended losses, liquidation is now a recognized

reality by all in the industry. To date, Smithfield has already reduced the size of its U.S.

herd by two million market hogs annually, and we are initiating a further reduction of 3%

of our U.S. sow herd, effective immediately. This reduction, combined with the

additional cuts by our fellow producers should shrink supply to a point where the

industry can return to profitability. This liquidation is long overdue.” (Emphasis added).

        146.   In August of 2009, Tyson Foods, Inc. Chief Operating Officer, James

Lochner, confirmed:

               Hog supplies will be down in Q4 year over year but still
               adequate. We do expect to see liquidation accelerate and
               pork production decrease into 2010 and beyond to improve
               producer profitability. We will continue to watch forward


   56
     Q4 2009 Smithfield Foods Earnings Conference Call – Final (June 16, 2009)
(emphasis added).


                                         59
         CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 61 of 126




                hog supplies to drive more exports, monitor demand, focus on
                cost, mix, and pricing to generate revenue. 57

Mr. Lochner continued, “Looking forward in the pork segment we will see a gradual

decline in hog supplies to the first half of our fiscal year with additional year over year

declines into Q3 and Q4.” 58

         147.   Tyson 2009 10K Report further stated that, “We expect to see a gradual

decline in hog supplies through the first half of fiscal 2010, which will accelerate into the

second half of fiscal 2010, resulting in industry slaughter slightly higher than 2007 (or

roughly 4% less than fiscal 2009).” 59

         148.   In August of 2009, Wesley Mendonça Batista, CEO of JBS USA,

communicated the start of JBS USA’s participation in hog liquidation efforts. Mr. Batista

stated, “we are seeing the start, we are seeing some increase in—not increase, we are

seeing some more [hog] liquidation. So we think we will continue to see the margin in

the processing side strong this whole year. But in the pork producers, it will be a real

challenge for them, producers for, in the next quarters.” 60

         149.   In September 2009, the CEO of Smithfield stated that he had conversations

with “sizable large producers” and that they would be doing some liquidation:




   57
     Q3 2009 Tyson Foods, Inc. Earnings Conference Call (June 26, 2009) (emphasis
added).
   58
        Id.
   59
        See Tyson 2009 10K Report, at p. 20.
   60
        JBS 2008 Earnings Conference Call (August 13, 2009).


                                          60
         CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 62 of 126




                We can’t solve the problem. But the answer to that is yes, I
                have had conversations with several sizable, more than
                sizable large producers, in fact very large producers, and I
                would tell you they are doing some liquidation. But again, I
                don’t think they can solve it.

                I think this industry has got to solve it collectively. I do
                believe everyone is now looking, and when I’m talking to
                people who are financially extremely strong and they are
                cutting back, that’s got to be a statement about those people
                who are not financially strong. But the answer is, yes, there
                are others cutting back. We’re not the only one. 61

         150.   In December of 2009 the CEO of Smithfield confirmed it had done its “fair

share” to cut supply and communicated that others needed to continue cutting supply to

“put this industry back in balance”:

                We continue to take a leadership role there and we have
                continued to take sow reductions and liquidation in our own
                herds and all of that has essentially been completed from
                Smithfield’s side, so I think we’ve certainly done more than
                our fair share in terms of what this industry needs...I can tell
                you that I know in the east, its [sic] been pretty public about
                some of the producers on the east coast that have been cutting
                back besides ourselves. We are getting a little more
                information in the Midwest and I am saying that I have not
                seen the significant Midwest reduction that would probably
                be needed to put this industry back in balance. 62

         151.   In a January 2010 article, an industry insider noted that the pork industry

still needed a 12% reduction in order to restore the pork industry to profitability, even

though sow numbers had already dropped by over 5% in 2009.




   61
     Event Brief of Q1 2010 Smithfield Foods Earnings Conference Call (Sept. 8, 2009)
(emphasis added).
   62
        Q2 2010 Smithfield Foods Earnings Conference Call – Final (December 10, 2009).


                                           61
         CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 63 of 126




         152.   In March 2010, when asked about fourth quarter and 2011 volumes for

pork, Larry Pope, the CEO of Smithfield, indicated that further cuts were still to come:

                Hog volumes for the rest of the fiscal year. That’s going to
                have the impact starting next fiscal year when there is going
                to be 13,000 less. But I think we’ll pick up some of that in our
                other operations. But I think 8,000 or 9,000 or 10,000 of those
                a day will disappear from our operations and that represents
                about 8% of our, 8% of the hogs will be down. That’s for also
                the fresh pork side. 63

         153.   On March 8, 2010, Wesley Mendonça Batista mentioned Defendant JBS’

reduction in hog supply as a driver of profitability, and stated that these efforts were

resulting in protein shortages. Mr. Batista stated:

                [A] combination of reduction in supply for cattle, for hogs
                and for chicken and in the other hand the improvement and
                increase in consumption in the emergent markets we are very
                optimistic about our business, about the margin that we will
                see a strong demand and this reduction in supply, so we
                believe that we will see some shortage in protein going
                forward. 64

 Despite having the economic incentive (increased demand) to increase supply and

 capture market share, JBS adhered to Defendants’ agreed upon scheme to limit hog

 supply.

         154.   As of March 2010, US pork production was noted to be down 7% so far,

with 6% of the reduction coming from a reduction in slaughter and 1% from lower




   63
      Event Brief of Q3 2010 Smithfield Foods Earnings Conference Call – Final (Mar.
11, 2010).
   64
        JBS Q2 2009 Earnings Conference Call (Mar. 8, 2010).


                                           62
        CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 64 of 126




market weights. Defendants also were reported to have increased exports 8% by March

2010, which was expected to lead to higher hog prices.

        155.   The Defendants also acknowledged access to information that allowed

them to know that the supply of pork would not be increasing. For example, in December

2010, Larry Pope, the CEO of Smithfield, stated:

               We certainly compare ourselves to our competitors as best we
               can. Given the information we think we have public plus
               what we think we know privately, how many they kill, what
               their processing levels are and things like to. This is
               information you may not quite have. And we have been
               certainly impressed with how our competitors have been able
               to achieve margins that we have not been able to achieve
               because our fresh pork competes very competitively with
               theirs. 65

As set forth above, Smithfield had access to competitively sensitive information from its

competitors through the Agri Stats reports, which allowed it to know confidential supply

information from its competitors.

        156.   Supply level information regarding competitors allowed Defendants to

know that supply would not increase in the future, given the lifecycles of the animals.

Based on this knowledge, in November of 2010 Hormel CFO, Jody Feragen, stated that

she did not think the industry would see large scale expansion given profitability for the

pork integrators. 66

        157.   In February 2011, Tyson’s chief operating officer (COO) stated:

   65
     Event Brief of Q2 2011 Smithfield Foods Earnings Conference Call – Final (Dec.
2010) (emphasis added).
   66
     Q1 2010 Hormel Foods Corporation Earnings Conference Call – Final (Nov 23,
2010).


                                        63
       CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 65 of 126




               I think there is still a widely held belief that our Beef and
               Pork profitability isn’t sustainable. I want to again explain
               why we don’t believe that is true. If we look at supply,
               current cattle and hogs production levels can’t change much
               in 2011 because of the limits of the animals’ lifecycles.

Again, the way to know the level of production in the industry would be through the

provision of competitively sensitive information by a competitor of Tyson.

       158.    In the face of ever-increasing margins, when asked whether the type of

profits would continue, in March 2011, Larry Pope and Robert (Bo) Manly of Smithfield

confirmed to their competitors that it would not increase capacity, even in the face of the

clear profitability:

               LARRY POPE: We closed last night at nearly $64 for hogs.
               Yet we are projecting over the next 90 days we will be up
               another 20% from that. I mean those are big numbers to get
               the meat prices in the retail and food service case to cover
               that. . . .

               HEATHER JONES: So you are just striking a note of caution
               because you know it can’t stay this way indefinitely; but it’s
               not that you foresee this reversion to that norm over the near
               term?

               BO MANLY: I don’t see it on the horizon, on the foreseeable
               horizon. We are still going to have -- should have good
               margins, but I can’t believe --

               LARRY POPE: Heather, we are sitting here today, we are
               halfway -- closing in on halfway through our fourth quarter,
               and we have had very good margins through February and
               March, through today. We have got double-digit margins
               today.

               BO MANLY: It will correct itself over the long run, because
               this type of return on investment would attract capital, would
               attract expansion, and we kill more pigs and drive the margins
               lower. So it will either happen by itself or someone is going
               to build a plant.


                                         64
        CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 66 of 126




               HEATHER JONES: All right, okay. Thank you.

               LARRY POPE: You get two-year visibility on that, though.
               You get to know when somebody is building a plant because
               they have got to file for a permit and they have actually got to
               build the thing. . . . And by the way, we are not going to build
               a new plant to expand capacity. 67

        159.   In March 2012, the VP of Finance and chief accounting officer of

Smithfield stated that no one in the industry would be “real excited about adding

capacity” when the losses of 24 to 36 months ago were considered:

               Nonetheless, you see some pretty significant fluctuations. Just
               two weeks ago, I think we had -- there were rumors the
               Chinese buying corn, and boom, all of a sudden the corn
               market is up $0.20, $0.30. So there is some volatility there.
               And what I would tell you is that keeps a lid on pork
               production. The pork guys in the United States have not
               forgotten 24 or 36 months ago when there were significant
               losses in the industry. There is no one going to be real
               excited about adding capacity, adding sows at a time when
               we’ve got such volatility. 68

        160.   By May 2012, industry observers were noting that the reductions in

slaughter capacity meant Defendants may not have enough capacity to slaughter expected

hog levels by the fall. In fact, Steve Meyer of Paragon Economics noted that slaughter

capacity would not keep up with hog capacity through late 2013 given that Defendants

were holding their slaughter levels constant.




   67
     Event Brief of Q3 2011 Smithfield Foods Earnings Conference Call – Final (Mar.
2011) (emphasis added).
   68
      Smithfield Foods at Barclays Bank High Yield Bond and Syndicated Loan
Conference – Final (Mar. 26, 2012) (emphasis added).


                                          65
         CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 67 of 126




         161.   In August 2012, Defendant Indiana Packers’ president Gary Jacobson

commented that the pork company “runs ‘on a sold-out position.’” 69 Mr. Jacobson

attempted to make excuses for reducing the supply of pork. “‘It’s been a good strong,

steady growth,’ Jacobson said. ‘Indiana is in the heart of corn country and pigs are the

heart of corn consumption, so business has been very good. This summer’s heat waves

and drought are likely to affect pork prices starting this fall and into the spring,’ said

Jacobson. High corn prices make pig farming less profitable, he explained, both reducing

the supply of pork for processing plants come next spring and making the pork that is on

the market more expensive. In the short run, high temperatures make pigs less hungry and

they don’t fatten for market as quickly as they would in a cooler year. That means

farmers either wait longer to bring their swine to market or take them to market as usual

but at a lighter weight. ‘So, the impact has not been really significant as far as production

as a whole,’ Jacobson said, but it remains to be seen how the drought will change the

plant’s supply in the coming months.” 70

         162.   In December 2013 Robert Manly of Smithfield emphasized that

coordinated industry action was necessary to “balance supply and demand:”

                So I think you really need to look at the overall industry
                balance of supply and demand to be able to determine, and
                the industry move prices up and collectively as a group.
                We’ve got limited ability to do it ourselves if the rest of the
                industry doesn’t follow, but the consumer tends to be willing
                to pay proportionately higher values for their pork meat when

   69
     Sarah Einselen, Food Packing Business Steady So Far, Pharos-Tribune (Aug. 1,
2012).
   70
        Id.


                                           66
         CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 68 of 126




                small increments of supply are withdrawn from the
                marketplace. 71

         163.   On May 15, 2013, Wesley Mendonça Batista continued to demonstrate

Defendant JBS’ ability to constrain the pork market. During a quarterly earnings call he

stated that “[i]n pork, given some restrictions in supply we have been able to pass price

through the system and we are seeing good margins in our pork business. . . . So this is a

clear sign that we have been able to pass price increase in chicken and pork and not in the

same extent in beef.”

         164.   Defendants further refused to increase their capacity and gain market share

even when market fundamentals and economics dictated otherwise. For example, during

the 2014 PEDv epidemic, which caused industry supply disruptions, Eric Haman,

Defendant Clemens Food Group’s communication manager, stated the disease “‘had a

very minimal impact on our hog flow, especially when you compare it to others in the

industry’ Haman said. ‘That’s one of the many benefits of raising hogs in Pennsylvania,

since we have a much lower density of pigs than other states, which decreases the risk of

(a virus) like this.’” 72 Yet, in furtherance of their conspiracy Defendant Clemens did not

take advantage of having few PEDv infected pigs. Instead of attempting to increase their

market share, they stayed the course with their fellow competitors.

         165.   Defendants’ conspiracy was yielding substantial profits by 2014. In

October 2014, Pork Powerhouses reported that “Hogs made history this summer. Pork

   71
        Q2 2014 Smithfield Foods Earnings Conference Call (December 23, 2013).
   72
      Kyle Bagentose, Pig Virus Has Ability To Affect Local Herds, Bucks County
Courier Times (May 4, 2014).


                                          67
         CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 69 of 126




producer profits were, quite simply, enormous -- averaging $82 profit for each hog

marketed in the third quarter.” The report also noted that “Joe Szaloky, vice president of

business development and planning for Smithfield, is confident about profit during the

next year, but ‘concerned 2016 could be “problematic” if the industry expands too fast.

The PED virus trimmed supply, but higher market weights helped compensate.’”

         166.   In early 2015, Pig International noted the continuing problem of available

daily slaughter capacity limiting the ability to significantly expand pork production.

Specifically, pork producers rushed to sign contracts with Defendants that would protect

them if production exceeded slaughter capacity as some feared.

         167.   In February 2017, Seaboard and Triumph Foods announced plans to expand

their joint pork processing facility in Sioux City, Iowa, operated by their 50/50 joint

venture Seaboard Triumph Foods, LLC, to include a second shift. 73 In announcing the

potential second shift, Mark Porter, Seaboard Triumph Foods Chief Operating Officer,

stated: “The timing of the expansion for a second shift is a result of growing demand for

the Seaboard Foods line of quality pork products as well as ongoing growth in the

industry.” 74 However, in furtherance of the conspiracy, Triumph/Seaboard postponed the

addition of a second shift. 75


   73
      Tia Heidenbrecht, New Pork Processing Plant Adds Second Shift In Sioux City
(Feb. 17, 2017) (available at http://www.ktiv.com/story/34534148/2017/02/
Friday/seaboard-triumph-foods-announces-plans-to-expand-pork-processing-plant-in-
sioux-city).
   74
        Id.
   75
     Jeff DeYoung, Pork Packing Capacity Faces Delay to Growth, Iowa Farmer Today
(June 2, 2018) (available at https://www.agupdate.com/iowafarmertoday/news/


                                         68
       CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 70 of 126




I.     Abnormal pricing during the Class Period demonstrates the success of the
       collusive scheme.

       168.   Beginning in 2009, the pork industry showed abnormal price movements,

i.e., increases in prices for the average hog whole price unexplained by increases in costs.

All of these pricing measurements show a significant break between pricing prior to 2009

and pricing after 2009, supporting the plausibility of a conspiracy to increase prices of

pork. Plaintiffs have measured the various abnormal pricing movements in a number of

ways, including: (i) the average live hog price, (ii) the pork cut-out composite price, (iii)

the pork integrators’ margin during the class period; and (iv) the defendants’ revenues

before and during the class period. Each of these measures supports Plaintiffs’ allegations

that Defendants conspired to restrict production and otherwise acted in a concerted

manner to increase pork prices in the U.S.

       1.     The average hog wholesale price experienced an unprecedented
              increase beginning in 2009.

       169.   According to aggregate prices published by the USDA, prices for pork

products were less than $1.40/lb from 2000 to 2009, the hog market year average price

was at times substantially less. Thereafter, prices increased dramatically, rising to more

than $1.80/lb in 2014, and never dropping or below $1.40/lb again. Figure 9 below shows

the unprecedented increase in swine prices beginning in 2009, which stayed elevated

through 2018.




livestock/pork-packing-capacity-faces-delays-to-growth/article_f86fde7e-64dc-11e8-
b288-475ac8083072.html.).


                                         69
       CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 71 of 126




        Figure 9: Average Hog Wholesale Prices in Cents per lb., 2000-2018




      170.   As Figure 10 below shows, publicly available data also demonstrates that

pork integrators’ earnings increased steadily over the years 2009 to 2016, with a slight

decline in 2017, demonstrating an unusual increase in profits that was resistant to changes

in price during the conspiracy period. These substantial profit increases bear the

hallmarks of coordinated efforts to constrain supply short of demand.




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CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 72 of 126
        CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 73 of 126




                    Figure 11: Lean Hog Composite Price 2000-2019




        3.     Defendants’ revenues increased beginning in 2009, even taking into
               account defendant-specific costs.

        172.   For two of the largest defendants, Tyson and Smithfield, Plaintiffs’ experts

examined the spread between pork revenue and pork-related costs (costs of goods sold +

operating costs), as a proxy for measuring the spread between a defendant’s price of

wholesale pork and its hog costs. This measurement accounts for Defendant-specific

operating costs. This analysis confirms the beginning of abnormal pricing in 2009, where

there was a divergence in revenue and costs beginning at the start of the class period in

2009.


                                         72
       CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 74 of 126




       173.     Figure 12 shows a break in revenues and costs around the start of the Class

Period in 2009 for Tyson:

              Figure 12: Tyson’s Revenues vs Costs, April 2002 to April 2018




       174.     The same analysis for Smithfield shows a similar break in revenues and

costs beginning at the start of the class period:




                                          73
           CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 75 of 126




           Figure 13: Smithfield’s Revenues vs Costs, January 2004 to June 2016




           175.   These analyses of the spread between costs and prices relate solely to each

defendant’s pork segment, and thus confirm that rising costs in pork production do not

explain the increases in price seen during the Class Period.

J.         Overcharges due to the cartel were reflected in higher pork prices.

           176.   Pork is a commodity product in which the pork sold by competitors has no

meaningful difference and is thus interchangeable. As such price is driven by the

economic fundamentals of supply and demand. In the words of Tyson Foods, Inc. COO,

James Lochner, “As you know decreased supply should be favorable to pricing.” 76


     76
          Q1 2010 Tyson Foods, Inc. Earnings Conference Call (February 12, 2010).


                                            74
       CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 76 of 126




       177.   By reducing, stabilizing and maintaining the supply of pork even in the face

of increasing demand, Defendants’ common goal was to increase the price of pork and

their margins. In 2012 the CEO of Tyson reported that these efforts were successful,

stating: “Well, what we’ve seen happen, and it’s about evolving over time, is beef prices

have inflated from a reduced supply, increased global demand, same with pork prices

inflating from reduced supply and global demand, putting less domestic product on the

market.”

       178.   The volume of U.S. commerce in the pork industry is enormous. Total pork

sales in the United States for a portion of the Class Period were:

              •      2016 - $18.9 billion
              •      2015 - $21.0 billion
              •      2014 - $26.4 billion
              •      2013 - $23.4 billion

       179.   Each Defendant’s annual sales of pork products are also very large. For

example, in 2016 Smithfield reported $3.7 billion of fresh pork sales, and an additional

$5 billion in packaged pork product sales. That same year, Tyson reported $4.9 billion in

pork sales. With such enormous revenues, the ability to stabilize or increase the margin

even in small amounts has an enormous impact on profits, resulting in substantial

damages to class members.

       180.   The Bureau of Labor Statistics tracks commonly purchased products in its

Consumer Price Index (“CPI”). From the end of 2009 to the end of 2017, the CPI for all

food products rose approximately 15.4 percent. Over the same period, prices for pork

have increased substantially more for consumers over the Class Period. For example, the



                                         75
       CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 77 of 126




price of a pound of bacon has increased from $3.57 at the end of 2009 to $5.60 at the end

of 2017, an increase of 56.9 percent:

 Figure 14: CPI-Average Price Data for Bacon, Sliced, per pound, from 1995-2017




       181.   Similarly, the CPI for other pork products, excluding canned ham and

luncheon slices, show a marked increase over the Class Period, moving from $2.05 per

pound at the end of 2009 to $2.65 at the end of 2017 (approximately 29.3 percent):




                                        76
       CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 78 of 126




  Figure 15: CPI-Average Price Data for Other Pork, per pound, from 1998-2017




      182.   And the CPI for another commonly purchased consumer item, ham, shows

an increase from $2.15 at the end of 2009 to $2.91 at the end of 2017 (or 35.4 percent):

      Figure 16: CPI-Average Price Data for Ham, per pound, from 1998-2017




                                        77
      CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 79 of 126




      183.                                  In other words, the increases in the prices of pork far out-paced the growth

in prices for other food products during the class period. These price increases were not

the result of retailers’ desire to move prices upward. Instead, they were the result of

increased wholesale prices. In addition to CPIs, the Bureau of Labor Statistics also

maintains a series of Producer Price Indexes (“PPI”) which measure the changes in

wholesale prices for pork products. As shown in Figure 17 below, the processed pork

wholesale prices appear to be the motivator of the higher retail prices, with prices

climbing significantly beginning during the conspiracy:

                                 Figure 17: PPI for Pork, Processed or Cured, Not Canned or Made Into
                                                        Sausage, from 1995-2017

                                          180
                                          160
       Index Value (Base Date: 12/1982)




                                          140
                                          120
                                          100
                                           80
                                           60
                                           40
                                           20
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                                                                      78
       CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 80 of 126




       184.   Given these market conditions, the overcharge due to Defendants’

anticompetitive agreement to artificially increase and stabilize the price and supply of

pork was borne in large part by Plaintiffs and the Plaintiff Class.

K.     Defendants actively concealed the conspiracy and Plaintiffs did not and could
       not have discovered Defendants’ anticompetitive conduct.

       185.   Plaintiffs and the members of the Class had neither actual nor constructive

knowledge of the facts constituting their claim for relief. Plaintiffs and members of the

Class did not discover, and could not have discovered through the exercise of reasonable

diligence, the existence of the conspiracy alleged herein until shortly before filing this

Complaint. Defendants engaged in a secret conspiracy that did not reveal facts that would

put Plaintiffs or the Class on inquiry notice that there was a conspiracy to fix prices for

pork. Throughout the Class Period, Defendants effectively, affirmatively, and

fraudulently concealed their unlawful combination and conspiracy from Plaintiffs and

class members.

       186.   The combination and conspiracy alleged herein was fraudulently concealed

by Defendants by various means and methods, including but not limited to secret

meetings, surreptitious communications between Defendants by the use of the telephone

or in-person meetings in order to prevent the existence of written records, limiting any

explicit reference to competitor pricing or supply restraint communications on

documents, communicating competitively sensitive data to one another through Agri

Stats - a “proprietary, privileged, and confidential” system that kept both the content and

participants in the system secret, and concealing the existence and nature of their




                                         79
         CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 81 of 126




competitor supply restraint and price discussions from non-conspirators (including

customers).

         187.   In 2009, the President of Agri Stats, Brian Snyder, commented on how

secretive the true nature of Agri Stats was when he stated:

                Agri Stats has always been kind of a quiet company. There’s
                not a whole lot of people that know a lot about us obviously
                due to confidentiality that we try to protect. We don’t
                advertise. We don’t talk about what we do. It’s always kind
                of just in the background, and really our specialty is working
                directly with companies about their opportunities and so
                forth. 77

         188.   At the same 2009 presentation, when discussing “bottom line numbers” (a

company’s net earnings), Mr. Snyder declined to display those numbers publicly, stating

“I’m not going to display the actual bottom line to the group here just because of the

confidentiality nature of the information.” 78 And yet, despite refusing to show this

information publicly, Agri Stats provided producers with the “bottom line numbers” of

their competitors on a regular basis via the reports discussed above. These statements

acted to conceal the true detail and nature of the Agri Stats reports from Plaintiffs and the

public in general.

         189.   Larry Pope, the CEO of Smithfield, made similar references to secret

information in December 2010, explaining that he was confident pork supplies would not

be increasing in the market, based on




   77
        Sanderson Farms Investor Day – Final (Oct. 2009) (emphasis added).
   78
        Id.


                                          80
         CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 82 of 126




                the information we think we have public plus what we think
                we know privately, how many they kill, what their processing
                levels are and things like [that]. This is information you may
                not quite have. 79

         190.   At other times, Defendants attributed the stability in the pork market to

other reasons such as “good programs with our retailers” and “lower grain costs.” As

Larry Pope, stated in June 2012:

                KEN ZASLOW: What evidence do you have to actually give
                you some confidence that fresh pork margins will improve
                sequentially throughout the year?

                LARRY POPE: Strong exports, $71 hog today, good
                programs with our retailers, and lower grain cost in the future
                and a futures market that says the hog market’s going to be
                fine. I guess beyond that, you’ve got chicken and beef that are
                going to be down significantly.

                BO MANLY: And I think there is also some optimism that
                the US consumer may have some greater disposable income
                from less gasoline prices and improvement in the economy. 80

          191. Not until recently was the fact of the pork industry’s use of Agri Stats

 widely known or reported. An investigative article published in February 2017 by

 Bloomberg Businessweek suggested the conspiracy that began among Broiler producers

 and Agri Stats was being replicated in the pork industry. 81 The article reported that Agri

 Stats


   79
     Event Brief of Q2 2011 Smithfield Foods Earnings Conference Call – Final (Dec.
2010) (emphasis added).
   80
      Event Brief of Q4 2012 Smithfield Foods Earnings Conference Call – Final (June
14, 2012).
   81
      See Christopher Leonard, Is the Chicken Industry Rigged?, Bloomberg
Businessweek (Feb. 15, 2017) (available at https://www.bloomberg.com/news/features/
2017-02-15/ is-the-chicken-industry-rigged).


                                          81
         CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 83 of 126




                has . . . been branching out into the hog business, which has,
                over the past 30 years, started to look more and more like the
                chicken industry, with hogs being raised under contract for
                vertically integrated companies such as Smithfield Foods. It
                appears that demand for the service is strong. At a hog
                industry trade show in 2011, an Agri Stats employee pitched
                the company’s services. His slideshow indicated that 27
                companies had already signed up.82

While Bloomberg Businessweek article did not conclude that pork producers were

engaged in a horizontal conspiracy, it did suggest for the first time in a widely circulated

article that the pork industry may have been using Agri Stats as a vehicle for collusion

similar to the Broiler industry.

         192.   Only after the filing of a February 7, 2018, Second Consolidated and

Amended Complaint by the End User Plaintiff Class in the In Re Broiler Chicken

Antitrust Litigation, Case No. 1:16-cv-08637 (N.D. Ill.), was there a comprehensive

presentation of the full scope of the confidential services that Agri Stats’ provides to its

clients in the Broiler industry.

         193.   The filing of this amended complaint, along with the February 2017 article

by Bloomberg Businessweek disclosing the pork industry’s use of Agri Stats, collectively

disclosed the likelihood that the pork industry was using Agri Stats to share confidential

industry information that could facilitate an anticompetitive conspiracy.

         194.   Defendants’ anticompetitive conspiracy, by its very nature, was self-

concealing. Pork is not exempt from antitrust regulation, and thus, before these recent

events Plaintiffs reasonably considered it to be a competitive industry. Accordingly, a


   82
        Id.


                                          82
       CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 84 of 126




reasonable person under the circumstances would not have been alerted to begin to

investigate the legitimacy of Defendants’ pork prices before these recent events.

       195.   By virtue of the fraudulent concealment of their wrongful conduct by

Defendants and all of their co-conspirators, the running of any statute of limitations has

been tolled and suspended with respect to any claims and rights of action that Plaintiffs

and the other class members have as a result of the unlawful combination and conspiracy

alleged in this complaint.

                       V.     CLASS ACTION ALLEGATIONS

       196.   Plaintiffs bring this action on behalf of themselves and as a class action

under Rule 23(a) and (b)(2) of the Federal Rules of Civil Procedure, seeking equitable

and injunctive relief on behalf of the following class (the “Nationwide Class”):

              All entities that indirectly purchased pork from Defendants or
              co-conspirators in the United States during the Class Period
              for their own business use in commercial food preparation.




                                        83
       CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 85 of 126




       197.   Plaintiffs also bring this action on behalf of themselves and as a class action

under Rule 23(a) and (b)(3) of the Federal Rules of Civil Procedure seeking damages

pursuant to the common law of unjust enrichment and the state antitrust, unfair

competition, and consumer protection laws of the states and territories listed below (the

“Indirect Purchaser States”) on behalf of the following class (the “Damages Class”):

              All entities in the Indirect Purchaser States that indirectly
              purchased pork from Defendants or co-conspirators in the
              United States during the Class Period for their own business
              use in commercial food preparation.

       198.   The Nationwide Class and the Damages Class are referred to herein as the

“Classes.”

       199.   Plaintiffs reserve the right to modify the class definition at a later date,

including to add the first level of indirect purchasers.

       200.   While Plaintiffs do not know the exact number of the members of the

Classes, there are likely thousands of class members.

       201.   Common questions of law and fact exist as to all members of the Classes.

This is particularly true given the nature of Defendants’ conspiracy, which was generally

applicable to all the members of both Classes, thereby making appropriate relief with

respect to the Classes as a whole. Such questions of law and fact common to the Classes

include, but are not limited to:




                                          84
CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 86 of 126




     A.    Whether Defendants and their co-conspirators engaged in a

           combination and conspiracy among themselves to fix, raise,

           maintain and/or stabilize prices of pork in the United States;

     B.    The identity of the participants of the alleged conspiracy;

     C.    The duration of the alleged conspiracy and the acts carried out by

           Defendants and their co-conspirators in furtherance of the

           conspiracy;

     D.    Whether the alleged conspiracy violated the Sherman Act, as alleged

           in the First Count;

     E.    Whether the alleged conspiracy violated state antitrust and unfair

           competition laws, and/or state consumer protection laws, as alleged

           in the Second and Third Counts;

     F.    Whether Defendants unjustly enriched themselves to the detriment

           of the Plaintiffs and the members of the Classes, thereby entitling

           Plaintiffs and the members of the Classes to disgorgement of all

           benefits derived by Defendants, as alleged in the Fourth Count;

     G.    Whether the conduct of Defendants and their co-conspirators, as

           alleged in this Complaint, caused injury to the business or property

           of Plaintiffs and the members of the Classes;

     H.    The effect of the alleged conspiracy on the prices of pork sold in the

           United States during the Class Period;




                                 85
       CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 87 of 126




              I.     Whether the Defendants and their co-conspirators actively

                     concealed, suppressed, and omitted to disclose material facts to

                     Plaintiffs and members of the Classes concerning Defendants’

                     unlawful activities to artificially inflate prices for pork, and/or

                     fraudulently concealed the unlawful conspiracy’s existence from

                     Plaintiffs and the other members of the Classes;

              J.     The appropriate injunctive and related equitable relief for the

                     Nationwide Class; and

              K.     The appropriate class-wide measure of damages for the Damages

                     Class.

       202.   Plaintiffs’ claims are typical of the claims of the members of the Classes.

Plaintiffs and all members of the Classes are similarly affected by Defendants’ wrongful

conduct in that they paid artificially inflated prices for pork purchased indirectly from

Defendants and/or their co-conspirators. Plaintiffs’ claims arise out of the same common

course of conduct giving rise to the claims of the other members of the Classes.

       203.   Plaintiffs will fairly and adequately protect the interests of the Classes.

Plaintiffs’ interests are coincident with, and not antagonistic to, those of the other

members of the Classes. Plaintiffs are represented by counsel who are competent and

experienced in the prosecution of antitrust and class action litigation.

       204.   The questions of law and fact common to the members of the Classes

predominate over any questions affecting only individual members, including legal and

factual issues relating to liability and damages.


                                          86
          CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 88 of 126




          205.   Class action treatment is a superior method for the fair and efficient

adjudication of the controversy, in that, among other things, such treatment will permit a

large number of similarly situated persons to prosecute their common claims in a single

forum simultaneously, efficiently and without the unnecessary duplication of evidence,

effort and expense that numerous individual actions would engender. The benefits of

proceeding through the class mechanism, including providing injured persons or entities

with a method for obtaining redress for claims that might not be practicable to pursue

individually, substantially outweigh any difficulties that may arise in management of this

class action. Plaintiffs reserve the discretion to certify the Damages Class as separate

classes for each of the Indirect Purchaser States or as separate classes for certain groups

of Indirect Purchaser States, should the Court’s subsequent decisions in this case render

that approach more efficient. Whether certified together or separately, the total number

and identity of the members of the Damages Class would remain consistent.

          206.   The prosecution of separate actions by individual members of the Classes

would create a risk of inconsistent or varying adjudications, establishing incompatible

standards of conduct for Defendants.

                               VI.    ANTITRUST INJURY

          207.   Defendants’ anticompetitive conduct had the following effects, among

others:

                 A.    Price competition has been restrained or eliminated with respect to

                       pork;




                                          87
       CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 89 of 126




              B.      The prices of pork have been fixed, raised, stabilized, or maintained

                      at artificially inflated levels;

              C.      Commercial and Institutional Indirect purchasers of pork have been

                      deprived of free and open competition; and

              D.      Commercial and Institutional Indirect purchasers of pork paid

                      artificially inflated prices.

       208.   The purpose of the conspiratorial conduct of the Defendants and their co-

conspirators was to raise, fix, or maintain the price of pork. As a direct and foreseeable

result, Plaintiffs and the Class paid supra-competitive prices for pork during the Class

Period.

       209.   By reason of the alleged violations of the antitrust laws, Plaintiffs and the

Class have sustained injury to their businesses or property, having paid higher prices for

pork than they would have paid in the absence of Defendants’ illegal contract,

combination, or conspiracy and as a result have suffered damages.

       210.   This is an antitrust injury of the type that the antitrust laws were meant to

punish and prevent.

                               VII.    CAUSES OF ACTION

                                          Count One

                    Violation of Sections 1 and 3 of the Sherman Act
                    (on behalf of Plaintiffs and the Nationwide Class)

       211.   Plaintiffs incorporate by reference the allegations set forth above as if fully

set forth herein.




                                            88
       CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 90 of 126




       212.     Defendants and their unnamed co-conspirators entered into and engaged in

a contract, combination, or conspiracy in unreasonable restraint of trade in violation of

Sections 1 and 3 of the Sherman Act (15 U.S.C. § 1, 3).

       213.     During the Class Period, Defendants and their co-conspirators entered into

a continuing agreement, understanding and conspiracy in restraint of trade to artificially

allocate customers, rig bids and raise, maintain and fix prices for pork, thereby creating

anticompetitive effects.

       214.     The conspiratorial acts and combinations have caused unreasonable

restraints in the market for pork.

       215.     As a result of Defendants’ unlawful conduct, Plaintiffs and other similarly

situated class members in the Nationwide Class that purchased pork have been harmed by

being forced to pay inflated, supracompetitive prices for pork.

       216.     In formulating and carrying out the alleged agreement, understanding and

conspiracy, Defendants and their co-conspirators did those things that they combined and

conspired to do, including, but not limited to, the acts, practices and course of conduct set

forth herein.

       217.     Defendants’ conspiracy had the following effects, among others:

                (a)   Price competition in the market for pork has been restrained,

                suppressed, and/or eliminated in the United States;




                                          89
       CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 91 of 126




               (b)    Prices for pork provided by Defendants and their co-conspirators

               have been fixed, raised, maintained, and stabilized at artificially high, non-

               competitive levels throughout the United States; and

               (c)    Plaintiffs and members of the Nationwide Class who purchased pork

               indirectly from Defendants and their co-conspirators have been deprived of

               the benefits of free and open competition.

       218.    Plaintiffs and members of the Nationwide Class have been injured and will

continue to be injured in their business and property by paying more for pork purchased

indirectly from Defendants and the co-conspirators than they would have paid and will

pay in the absence of the conspiracy.

       219.    Defendants’ contract, combination, or conspiracy is a per se violation of the

federal antitrust laws.

       220.    Plaintiffs and members of the Nationwide Class are entitled to an injunction

against Defendants, preventing and restraining the continuing violations alleged herein.

                                             Count Two

                           Violation of State Antitrust Statutes
                      (on behalf of Plaintiffs and the Damages Class)

       221.    Plaintiffs repeat the allegations set forth above as if fully set forth herein,

and each of the state-specific causes of action described below incorporates the

allegations as if fully set forth therein.

       222.    During the Class Period, Defendants and their co-conspirators engaged in a

continuing contract, combination or conspiracy with respect to the sale of pork in



                                             90
       CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 92 of 126




unreasonable restraint of trade and commerce and in violation of the various state

antitrust and other statutes set forth below.

       223.   The contract, combination, or conspiracy consisted of an agreement among

Defendants and their co-conspirators to fix, raise, inflate, stabilize, and/or maintain at

artificially supracompetitive prices for pork and to allocate customers for pork in the

United States and its territories.

       224.   In formulating and effectuating this conspiracy, defendants and their co-

conspirators performed acts in furtherance of the combination and conspiracy, including:

(a) participating in meetings and conversations among themselves in the United States

during which they agreed to price pork at certain levels, and otherwise to fix, increase,

inflate, maintain, or stabilize effective prices paid by plaintiffs and members of the

Damages Class with respect to pork provided in the United States; and (b) participating in

meetings and trade association conversations among themselves in the United States and

elsewhere to implement, adhere to, and police the unlawful agreements they reached.

       225.   Defendants and their co-conspirators engaged in the actions described

above for the purpose of carrying out their unlawful agreements to fix, increase, maintain,

or stabilize prices of pork. As a direct and proximate result, plaintiffs and members of the

Damages Class were deprived of free and open competition and paid more for pork than

they otherwise would have in the absence of defendants’ unlawful conduct. This injury is

of the type the antitrust laws of the above states were designed to prevent and flows from

that which makes defendants’ conduct unlawful.




                                          91
       CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 93 of 126




       226.   In addition, defendants have profited significantly from the conspiracy.

Defendants’ profits derived from their anticompetitive conduct come at the expense and

detriment of plaintiffs and the members of the Damages Class.

       227.   Accordingly, plaintiffs and the members of the Damages Class in each of

the following jurisdictions seek damages (including statutory damages where applicable),

to be trebled or otherwise increased as permitted by a particular jurisdiction’s antitrust

law, and costs of suit, including reasonable attorneys’ fees, to the extent permitted by the

following state laws.

       228.   Defendants’ anticompetitive acts described above were knowing, willful

and constitute violations of the following state antitrust statutes.

       229.   Arizona: Defendants have entered into an unlawful agreement in restraint

of trade in violation of Ariz. Rev. Stat. §44-1401 et seq. Defendants’ conspiracies had

the following effects: (1) price competition for pork was restrained, suppressed and

eliminated throughout Arizona; (2) pork prices were raised, fixed, maintained and

stabilized at artificially high levels throughout Arizona. During the Class Period,

defendants’ illegal conduct substantially affected Arizona commerce. Accordingly,

plaintiffs and members of the Damages Class seek all forms of relief available under

Ariz. Rev. Stat. §44-1401 et seq.

       230.   California:     Defendants have entered into an unlawful agreement in

restraint of trade in violation of Cal. Bus. & Prof. Code §16700 et seq. During the Class

Period, defendants and their coconspirators entered into and engaged in a continuing

unlawful trust in restraint of the trade and commerce described above in violation of Cal.


                                          92
       CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 94 of 126




Bus. & Prof. Code §16720. Each defendant has acted in violation of Cal. Bus. & Prof.

Code §16720 to fix, raise, stabilize, and maintain prices of pork at supracompetitive

levels. The violations of Cal. Bus. & Prof. Code §16720 consisted, without limitation, of

a continuing unlawful trust and concert of action among defendants and their co-

conspirators, the substantial terms of which were to fix, raise, maintain, and stabilize the

prices of pork. For the purpose of forming and effectuating the unlawful trust, defendants

and their co-conspirators have done those things which they combined and conspired to

do, including, but not limited to, the acts, practices and course of conduct set forth above,

and creating a price floor, fixing, raising, and stabilizing the price of pork.         The

combination and conspiracy alleged herein has had, inter alia, the following effects: (1)

price competition for pork has been restrained, suppressed and/or eliminated in the State

of California; (2) prices for pork provided by defendants and their co-conspirators have

been fixed, raised, stabilized, and pegged at artificially high, noncompetitive levels in the

State of California and throughout the United States; and (3) those who purchased pork

indirectly from defendants and their co-conspirators have been deprived of the benefit of

free and open competition. As a result of defendants’ violation of Cal. Bus. & Prof. Code

§16720, plaintiffs and members of the Damages Class seek treble damages and their cost

of suit, including a reasonable attorneys’ fee, pursuant to Cal. Bus. & Prof. Code

§16750(a).

       231.   District of Columbia:        Defendants have entered into an unlawful

agreement in restraint of trade in violation of D.C. Code §28-4501 et seq. Defendants’

combinations or conspiracies had the following effects: (1) pork price competition was


                                         93
       CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 95 of 126




restrained, suppressed and eliminated throughout the District of Columbia; (2) pork

prices were raised, fixed, maintained and stabilized at artificially high levels throughout

the District of Columbia; (3) plaintiffs and members of the Damages Class, including

those who resided in the District of Columbia and purchased pork in the District of

Columbia, paid supracompetitive, artificially inflated prices for pork, including in the

District of Columbia. During the Class Period, defendants’ illegal conduct substantially

affected commerce in the District of Columbia. By reason of the foregoing, defendants

have entered into agreements in restraint of trade in violation of D.C. Code §28-4501 et

seq. Accordingly, plaintiffs and members of the Damages Class seek all forms of relief

available under D.C. Code §28-4501 et seq.

       232.   Iowa: Defendants have entered into an unlawful agreement in restraint of

trade in violation of Iowa Code §553.1 et seq. Defendants’ combinations or conspiracies

had the following effects: (1) pork price competition was restrained, suppressed and

eliminated throughout Iowa; (2) pork prices were raised, fixed, maintained and stabilized

at artificially high levels throughout Iowa. During the Class Period, defendants’ illegal

conduct substantially affected Iowa commerce.      By reason of the foregoing, defendants

have entered into agreements in restraint of trade in violation of Iowa Code §553.1 et seq.

Accordingly, plaintiffs and members of the Damages Class seek all forms of relief

available under Iowa Code §553.1 et seq.

      233.    Kansas: Defendants have entered into an unlawful agreement in restraint

of trade in violation of Kan. Stat. §50-101 et seq.        Defendants’ combinations or

conspiracies had the following effects: (1) pork price competition was restrained,


                                        94
       CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 96 of 126




suppressed and eliminated throughout Kansas; (2) pork prices were raised, fixed,

maintained and stabilized at artificially high levels throughout Kansas. During the Class

Period,   defendants’    illegal   conduct    substantially   affected   Kansas    commerce.

Accordingly, plaintiffs and members of the Damages Class seek all forms of relief

available under Kan. Stat. §50-101 et seq.

       234.   Maine: Defendants have entered into an unlawful agreement in restraint of

trade in violation of Me. Rev. Stat. Ann. tit. 10, § 1101. Defendants’ combinations or

conspiracies had the following effects: (1) pork price competition was restrained,

suppressed and eliminated throughout Maine; (2) pork prices were raised, fixed,

maintained and stabilized at artificially high levels throughout Maine. During the Class

Period, defendants’ illegal conduct substantially affected Maine commerce. Accordingly,

plaintiffs and members of the Damages Class seek all relief available under Me. Rev.

Stat. Ann. tit. 10, § 1104.

       235.   Michigan:       Defendants have entered into an unlawful agreement in

restraint of trade in violation of Mich. Comp. Laws §445.771 et seq.              Defendants’

combinations or conspiracies had the following effects: (1) pork price competition was

restrained, suppressed and eliminated throughout Michigan; (2) pork prices were raised,

fixed, maintained and stabilized at artificially high levels throughout Michigan. During

the Class Period, defendants’ illegal conduct substantially affected Michigan commerce.

Accordingly, plaintiffs and members of the Damages Class seek all relief available under

Mich. Comp. Laws §445.771 et seq.




                                         95
      CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 97 of 126




      236.   Minnesota:        Defendants have entered into an unlawful agreement in

restraint of trade in violation of Minn. Stat. §325D.49 et seq. Defendants’ combinations

or conspiracies had the following effects: (1) pork price competition was restrained,

suppressed and eliminated throughout Minnesota; (2) pork prices were raised, fixed,

maintained and stabilized at artificially high levels throughout Minnesota. During the

Class Period, defendants’ illegal conduct substantially affected Minnesota commerce.

Accordingly, plaintiffs and members of the Damages Class seek all relief available under

Minn. Stat. §325D.49 et seq.

      237.   Mississippi:      Defendants have entered into an unlawful agreement in

restraint of trade in violation of Miss. Code §75-21-1 et seq. Defendants’ combinations

or conspiracies had the following effects: (1) pork price competition was restrained,

suppressed and eliminated throughout Mississippi; (2) pork prices were raised, fixed,

maintained and stabilized at artificially high levels throughout Mississippi. During the

Class Period, defendants’ illegal conduct substantially affected Mississippi commerce.

Accordingly, plaintiffs and members of the Damages Class seek all relief available under

Miss. Code §75-21-1 et seq.

      238.   Nebraska:      Defendants have entered into an unlawful agreement in

restraint of trade in violation of Neb. Rev. Stat. §59-801 et seq.          Defendants’

combinations or conspiracies had the following effects: (1) pork price competition was

restrained, suppressed and eliminated throughout Nebraska; (2) pork prices were raised,

fixed, maintained and stabilized at artificially high levels throughout Nebraska. During

the Class Period, defendants’ illegal conduct substantially affected Nebraska commerce.


                                        96
       CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 98 of 126




Accordingly, plaintiffs and members of the Damages Class seek all relief available under

Neb. Rev. Stat. §59-801 et seq.

      239.   Nevada: Defendants have entered into an unlawful agreement in restraint

of trade in violation of Nev. Rev. Stat. Ann. §598A.010 et seq.              Defendants’

combinations or conspiracies had the following effects: (1) pork price competition was

restrained, suppressed and eliminated throughout Nevada; (2) pork prices were raised,

fixed, maintained and stabilized at artificially high levels throughout Nevada. During the

Class Period, defendants’ illegal conduct substantially affected Nevada commerce.

Accordingly, plaintiffs and members of the Damages Class seek all relief available under

Nev. Rev. Stat. Ann. §598A.010 et seq.

      240.   New Hampshire: Defendants have entered into an unlawful agreement in

restraint of trade in violation of New Hampshire Revised Statutes Ann. §356:1.

Defendants’ combinations or conspiracies had the following effects: (1) pork price

competition was restrained, suppressed and eliminated throughout New Hampshire; (2)

pork prices were raised, fixed, maintained and stabilized at artificially high levels

throughout New Hampshire.         During the Class Period, defendants’ illegal conduct

substantially affected New Hampshire commerce. Accordingly, plaintiffs and members

of the Damages Class seek all relief available under New Hampshire Revised Statutes

§356:1 et seq.

      241.   New Mexico: Defendants have entered into an unlawful agreement in

restraint of trade in violation of New Mexico Statutes Annotated § 57-1-1, et seq.

Defendants’ combinations or conspiracies had the following effects: (1) pork price


                                         97
       CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 99 of 126




competition was restrained, suppressed and eliminated throughout New Mexico; (2) pork

prices were raised, fixed, maintained and stabilized at artificially high levels throughout

New Mexico. During the Class Period, defendants’ illegal conduct substantially affected

New Mexico commerce.        Accordingly, plaintiffs and members of the Damages Class

seek all relief available under New Mexico Statutes Annotated § 57-1-1, et seq.

      242.   New York:       Defendants have entered into an unlawful agreement in

restraint of trade in violation of New York General Business Laws § 340, et seq.

Defendants’ combinations or conspiracies had the following effects: (1) pork price

competition was restrained, suppressed and eliminated throughout New York; (2) pork

prices were raised, fixed, maintained and stabilized at artificially high levels throughout

New York. During the Class Period, defendants’ illegal conduct substantially affected

New York commerce. The conduct set forth above is a per se violation of the Donnelly

Act, § 340, et seq. Accordingly, plaintiffs and members of the Damages Class seek all

relief available under New York General Business Laws § 340, et seq.

      243.   North Carolina: Defendants have entered into an unlawful agreement in

restraint of trade in violation of North Carolina General Statutes § 75-1, et seq.

Defendants’ combinations or conspiracies had the following effects: (1) pork price

competition was restrained, suppressed and eliminated throughout North Carolina; (2)

pork prices were raised, fixed, maintained and stabilized at artificially high levels

throughout North Carolina; During the Class Period, defendants’ illegal conduct

substantially affected North Carolina commerce. Accordingly, plaintiffs and members of




                                        98
      CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 100 of 126




the Damages Class seek all relief available under North Carolina General Statutes § 75-

16, et seq.

       244.   North Dakota: Defendants have entered into an unlawful agreement in

restraint of trade in violation of N.D. Cent. Code §51-08.1-01 et seq. Defendants’

combinations or conspiracies had the following effects: (1) pork price competition was

restrained, suppressed and eliminated throughout North Dakota; (2) pork prices were

raised, fixed, maintained and stabilized at artificially high levels throughout North

Dakota. During the Class Period, defendants’ illegal conduct had a substantial effect on

North Dakota commerce. Accordingly, plaintiffs and members of the Damages Class

seek all relief available under N.D. Cent. Code §51-08.1-01 et seq.

       245.   Oregon: Defendants have entered into an unlawful agreement in restraint

of trade in violation of Or. Rev. Stat. § 646.725 et seq. Defendants’ combinations or

conspiracies had the following effects: (1) pork price competition was restrained,

suppressed and eliminated throughout Oregon; (2) pork prices were raised, fixed,

maintained and stabilized at artificially high levels throughout Oregon. During the Class

Period, defendants’ illegal conduct had a substantial effect on Oregon commerce.

Accordingly, plaintiffs and members of the Damages Class seek all relief available under

Or. Rev. Stat. § 646.780 et seq.

       246.   Rhode Island: Defendants have entered into an unlawful agreement in

restraint of trade in violation of Rhode Island General Laws § 6-36-4, et seq. The Rhode

Island statutes allow actions on behalf of indirect purchasers for conduct during the Class

Period. Defendants’ combinations or conspiracies had the following effects: (1) pork


                                        99
          CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 101 of 126




price competition was restrained, suppressed and eliminated throughout Rhode Island; (2)

pork prices were raised, fixed, maintained and stabilized at artificially high levels

throughout Rhode Island. During the Class Period, defendants’ illegal conduct had a

substantial effect on Rhode Island commerce. Accordingly, plaintiffs and members of

the Damages Class seek all relief available under Rhode Island General Laws § 6-36-11

et seq.

          247.   South Dakota: Defendants have entered into an unlawful agreement in

restraint of trade in violation of South Dakota Codified Laws § 37-1-3.1, et seq.

Defendants’ combinations or conspiracies had the following effects: (1) pork price

competition was restrained, suppressed and eliminated throughout South Dakota; (2) pork

prices were raised, fixed, maintained and stabilized at artificially high levels throughout

South Dakota. During the Class Period, defendants’ illegal conduct had a substantial

effect on South Dakota commerce. Accordingly, plaintiffs and members of the Damages

Class seek all relief available under South Dakota Codified Laws § 37-1-3.1, et seq.

          248.   Tennessee: Defendants have entered into an unlawful agreement in

restraint of trade in violation of Tenn. Code Ann. §47-25-101 et seq. Defendants’

combinations or conspiracies had the following effects: (1) pork price competition was

restrained, suppressed and eliminated throughout Tennessee; (2) pork prices were raised,

fixed, maintained and stabilized at artificially high levels throughout Tennessee. During

the Class Period, defendants’ illegal conduct had a substantial effect on Tennessee

commerce. Accordingly, plaintiffs and members of the Damages Class seek all relief

available under Tenn. Code Ann. §47-25-101 et seq.


                                        100
      CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 102 of 126




      249.   Utah: Defendants have entered into an unlawful agreement in restraint of

trade in violation of Utah Code Annotated § 76-10-3101, et seq.              Defendants’

combinations or conspiracies had the following effects: (1) pork price competition was

restrained, suppressed and eliminated throughout Utah; (2) pork prices were raised, fixed,

maintained and stabilized at artificially high levels throughout Utah. During the Class

Period, defendants’ illegal conduct had a substantial effect on Utah commerce.

Accordingly, plaintiffs and members of the Damages Class seek all relief available under

Utah Code Annotated § 76-10-3101, et seq.

      250.   Vermont:       Defendants have entered into an unlawful agreement in

restraint of trade in violation of 9 Vermont Stat. Ann. § 2453, et seq. Defendants’

combinations or conspiracies had the following effects: (1) pork price competition was

restrained, suppressed and eliminated throughout Vermont; (2) pork prices were raised,

fixed, maintained and stabilized at artificially high levels throughout Vermont. During

the Class Period, defendants’ illegal conduct had a substantial effect on Vermont

commerce. Accordingly, plaintiffs and members of the Damages Class seek all relief

available under 9 V.S.A. § 2465 et seq.

      251.   West Virginia:     Defendants have entered into an unlawful agreement in

restraint of trade in violation of West Virginia Code § 47-18-3, et seq. Defendants’

combinations or conspiracies had the following effects: (1) pork price competition was

restrained, suppressed and eliminated throughout West Virginia; (2) pork prices were

raised, fixed, maintained and stabilized at artificially high levels throughout West

Virginia. During the Class Period, defendants’ illegal conduct had a substantial effect on


                                          101
       CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 103 of 126




West Virginia commerce. Accordingly, plaintiffs and members of the Damages Class

seek all relief available under West Virginia Code § 47-18-9, et seq.

       252.    Wisconsin:       Defendants have entered into an unlawful agreement in

restraint of trade in violation of Wis. Stat. §133.01 et seq. Defendants’ combinations or

conspiracies had the following effects: (1) pork price competition was restrained,

suppressed and eliminated throughout Wisconsin; (2) pork prices were raised, fixed,

maintained and stabilized at artificially high levels throughout Wisconsin. During the

Class Period, defendants’ illegal conduct had a substantial effect on Wisconsin

commerce. Accordingly, plaintiffs and members of the Damages Class seek all relief

available under Wis. Stat. §133.01 et seq.

                                             Count Three

                     Violation of State Consumer Protection Statutes
                     (on Behalf of Plaintiffs and the Damages Class)

       253.    Plaintiffs repeat the allegations set forth above as if fully set forth herein,

and each of the state-specific causes of action described below incorporates the

allegations as if fully set forth therein.

       254.    Defendants engaged in unfair competition or unfair, unconscionable,

deceptive or fraudulent acts or practices in violation of the state consumer protection and

unfair competition statutes listed below.

       255.    Arkansas: Defendants have knowingly entered into an unlawful agreement

in restraint of trade in violation of Ark. Code Ann. §4-88-101 et seq.            Defendants

knowingly agreed to, and did in fact, act in restraint of trade or commerce by affecting,



                                              102
       CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 104 of 126




fixing, controlling, and/or maintaining at noncompetitive and artificially inflated levels,

the prices at which pork was sold, distributed, or obtained in Arkansas and took efforts to

conceal their agreements from plaintiffs and members of the Damages Class.             The

aforementioned conduct on the part of the defendants constituted “unconscionable” and

“deceptive” acts or practices in violation of Ark. Code Ann. §4-88-107(a)(10).

Defendants’ unlawful conduct had the following effects: (1) pork price competition was

restrained, suppressed and eliminated throughout Arkansas; (2) pork prices were raised,

fixed, maintained and stabilized at artificially high levels throughout Arkansas. During

the Class Period, defendants’ illegal conduct substantially affected Arkansas commerce

and consumers. Defendants have engaged in unfair competition or unfair or deceptive

acts or practices in violation of Ark. Code Ann. §4-88-107(a)(10) and, accordingly,

plaintiffs and the members of the Damages Class seek all relief available under that

statute.

       256.   California: Defendants have engaged in unfair competition or unfair,

unconscionable, deceptive or fraudulent acts or practices in violation of Cal. Bus. & Prof.

Code §17200 et seq. During the Class Period, defendants manufactured, marketed, sold,

or distributed pork in California, and committed and continue to commit acts of unfair

competition, as defined by Cal. Bus. & Prof. Code §17200 et seq., by engaging in the acts

and practices specified above. This claim is instituted pursuant to Cal. Bus. & Prof. Code

§§17203 and 17204, to obtain restitution from these defendants for acts, as alleged

herein, that violated Cal. Bus. & Prof. Code §17200, commonly known as the Unfair

Competition Law. Defendants’ conduct as alleged herein violated Cal. Bus. & Prof.


                                        103
      CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 105 of 126




Code §17200. The acts, omissions, misrepresentations, practices and nondisclosures of

defendants, as alleged herein, constituted a common, continuous, and continuing course

of conduct of unfair competition by means of unfair, unlawful, and/or fraudulent business

acts or practices within the meaning of Cal. Bus. & Prof. Code §17200 et seq., including,

but not limited to, the following: (1) the violations of §1 of the Sherman Act, as set forth

above; (2) the violations of Cal. Bus. & Prof. Code §16720 et seq., set forth above.

Defendants’ acts, omissions, misrepresentations, practices, and non-disclosures, as

described above, whether or not in violation of Cal. Bus. & Prof. Code §16720 et seq.,

and whether or not concerted or independent acts, are otherwise unfair, unconscionable

unlawful or fraudulent; (3) defendants’ acts or practices are unfair to purchasers of pork

in the State of California within the meaning of Cal. Bus. & Prof. Code §17200 et. seq.;

and (4) defendants’ acts and practices are fraudulent or deceptive within the meaning of

Cal. Bus. & Prof. Code §17200 et seq. Plaintiffs and members of the Damages Class are

entitled to full restitution and/or disgorgement of all revenues, earnings, profits,

compensation and benefits that may have been obtained by defendants as a result of such

business acts or practices. The illegal conduct alleged herein is continuing and there is no

indication that defendants will not continue such activity into the future. The unlawful

and unfair business practices of defendants, and each of them, as described above, have

caused and continue to cause plaintiffs and the members of the Damages Class to pay

supracompetitive and artificially inflated prices for pork. Plaintiffs and the members of

the Damages Class suffered injury in fact and lost money or property as a result of such

unfair competition. The conduct of defendants as alleged in this Complaint violates Cal.


                                        104
      CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 106 of 126




Bus. & Prof. Code §17200 et seq. As alleged in this Complaint, defendants and their co-

conspirators have been unjustly enriched as a result of their wrongful conduct and by

defendants’ unfair competition. Plaintiffs and the members of the Damages Class are

accordingly entitled to equitable relief including restitution and/or disgorgement of all

revenues, earnings, profits, compensation and benefits that may have been obtained by

defendants as a result of such business practices, pursuant to Cal. Bus. & Prof. Code

§§17203 and 17204.

       257.   Florida: Defendants have engaged in unfair competition or unfair,

unconscionable, or deceptive acts or practices in violation of the Florida Deceptive and

Unfair Trade Practices Act, Fla. Stat. §501.201 et seq. Defendants’ unlawful conduct had

the following effects: (1) pork price competition was restrained, suppressed and

eliminated throughout Florida; (2) pork prices were raised, fixed, maintained and

stabilized at artificially high levels throughout Florida. During the Class Period,

defendants’ illegal conduct substantially affected Florida commerce and consumers.

Accordingly, plaintiff and members of the Damages Class seek all relief available under

Fla. Stat. §501.201 et seq.

       258.   Massachusetts: Defendants have engaged in unfair competition or

unlawful, unfair, unconscionable, or deceptive acts or practices in violation of the

Massachusetts Gen. Laws, Ch. 93A, § 1, et seq. Defendants’ pork was sold, distributed,

or obtained in Massachusetts, and Defendants took efforts to conceal their agreements

from Plaintiff and the members of the Damages Class. The aforementioned conduct on

the part of the Defendants constituted “unfair methods of competition and unfair or


                                       105
      CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 107 of 126




deceptive acts or practices in the conduct of any trade or commerce,” in violation of

Massachusetts Gen. Laws, Ch. 93A, §§ 2, 11. Defendants’ unlawful conduct had the

following effects: (1) pork price competition was restrained, suppressed, and eliminated

throughout Massachusetts; (2) pork prices were raised, fixed, maintained, and stabilized

at artificially high levels throughout Massachusetts; (3) Plaintiff and the members of the

Damages Class were deprived of free and open competition; and (4) Plaintiff and the

members of the Damages Class paid supracompetitive, artificially inflated prices for

products containing pork. During the Class Period, Defendants’ illegal conduct

substantially affected Massachusetts commerce and consumers. As a direct and

proximate result of the unlawful conduct of the Defendants, Plaintiff and the members of

the Damages Class have been injured in their business and property and are threatened

with further injury. Defendants have engaged in unfair competition or unfair or deceptive

acts or practices in violation of Massachusetts Gen. Laws, Ch. 93A, §§ 2,11 and,

accordingly, Plaintiff and the members of the Damages Class seek all relief available

under that statute.

       259.   Minnesota: Defendants have engaged in unfair competition or unfair,

unconscionable, or deceptive acts or practices in violation of the Minnesota Uniform

Deceptive Trade Practices Act, Minn. Stat. § 325D.43, et seq. Defendants engaged in an

unfair and deceptive trade practices during the course of their business dealings, which

significantly impacted Plaintiffs as purchasers of the Defendants’ goods and which

caused Plaintiffs to suffer injury. Defendants took efforts to conceal their agreements

from Plaintiffs. Defendants’ unlawful conduct had the following effects: (1) pork at Issue


                                       106
      CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 108 of 126




price competition was restrained, suppressed, and eliminated throughout Minnesota; (2)

pork at Issue prices were raised, fixed, maintained, and stabilized at artificially high

levels throughout Minnesota. During the Class Period, Defendants’ illegal conduct

substantially affected Minnesota commerce and pork purchasers. Defendants have

engaged in unfair competition or unfair or deceptive acts or practices in violation of

Minn. Stat. § 325D.43, et seq., and, accordingly, Plaintiffs and members of the Class seek

all relief available under that statute and as equity demands.

       260.   Nebraska: Defendants have engaged in unfair competition or unfair,

unconscionable, or deceptive acts or practices in violation of the Nebraska Consumer

Protection Act, Neb. Rev. Stat. § 59-1601, et seq. Defendants’ unlawful conduct had the

following effects: (1) pork at Issue price competition was restrained, suppressed, and

eliminated throughout Nebraska; (2) pork at Issue prices were raised, fixed, maintained,

and stabilized at artificially high levels throughout Nebraska. During the Class Period,

Defendants marketed, sold, or distributed pork at Issue in Nebraska, and Defendants’

illegal conduct substantially affected Nebraska commerce and pork purchasers.

Defendants have engaged in unfair competition or unfair or deceptive acts or practices in

violation of Neb. Rev. Stat. § 59-1601, et seq., and, accordingly, Plaintiffs and members

of the Damages Class seek all relief available under that statute.

       261.   New Hampshire: Defendants have engaged in unfair competition or unfair,

unconscionable, or deceptive acts or practices in violation of the New Hampshire

Consumer Protection Act, N.H. Rev. Stat. § 358-A:1, et seq. Defendants sold the Pork at

Issue in New Hampshire and deceived Plaintiffs and Class Members in New Hampshire


                                         107
      CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 109 of 126




into believing that the Pork at Issue were competitively priced. Defendants’ unlawful

conduct had the following effects: (1) pork at Issue price competition was restrained,

suppressed, and eliminated throughout New Hampshire; (2) pork at Issue prices were

raised, fixed, maintained, and stabilized at artificially high levels throughout New

Hampshire; (3) Plaintiffs and members of the Damages Class, who resided in New

Hampshire and/or purchased the Pork at Issue in New Hampshire were deprived of free

and open competition in New Hampshire; and (4) Plaintiffs and members of the Damages

Class, who resided in New Hampshire and/or purchased the Pork at Issue in New

Hampshire paid supracompetitive, artificially inflated prices for the Pork at Issue, in New

Hampshire. During the Class Period, Defendants marketed, sold, or distributed pork at

Issue in New Hampshire, and Defendants’ illegal conduct substantially affected New

Hampshire commerce and pork purchasers. As a direct and proximate result of

Defendants’ unlawful conduct, Plaintiffs and members of the Damages Class have been

injured. Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of N.H. Rev. Stat. § 358-A:1, et seq., and, accordingly, Plaintiffs

and members of the Damages Class seek all relief available under that statute.

      262.   New Mexico: Defendants have engaged in unfair competition or unfair,

unconscionable, or deceptive acts or practices in violation of New Mexico Stat. § 57-12-

1, et seq. In New Mexico, price-fixing is actionable as an “unconscionable trade practice”

under N.M. Stat. § 57-12-2(E) because it “takes advantage of the lack of knowledge … of

a person to a grossly unfair degree” and also results in a “gross disparity between the

value received by a person and the price paid.” Defendants had the sole power to set that


                                        108
      CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 110 of 126




price, and plaintiffs and members of the Damages Class had no meaningful ability to

negotiate a lower price from wholesalers. Moreover, plaintiffs and members of the

Damages Class lacked any meaningful choice in purchasing pork because they were

unaware of the unlawful overcharge, and there was no alternative source of supply

through which Plaintiffs and members of the Damages Class could avoid the

overcharges. Defendants’ conduct with regard to sales of pork, including their illegal

conspiracy to secretly fix the price of pork at supracompetitive levels and overcharge

consumers, was substantively unconscionable because it was one-sided and unfairly

benefited Defendants at the expense of plaintiffs and the public. Defendants took grossly

unfair advantage of plaintiffs and members of the Damages Class. Defendants’ unlawful

conduct had the following effects: (1) pork price competition was restrained, suppressed

and eliminated throughout New Mexico; (2) pork prices were raised, fixed, maintained

and stabilized at artificially high levels throughout New Mexico; (3) plaintiffs and

members of the Damages Class were deprived of free and open competition; and (4)

plaintiffs and members of the Damages Class paid supracompetitive, artificially inflated

prices for pork.    During the Class Period, defendants’ illegal conduct substantially

affected New Mexico commerce and consumers. As a direct and proximate result of

defendants’ unlawful conduct, plaintiffs and members of the Damages Class have been

injured and are threatened with further injury.    Defendants have engaged in unfair

competition or unfair or deceptive acts or practices in violation of New Mexico Stat. §

57-12-1, et seq., and, accordingly, plaintiffs and members of the Damages Class seek all

relief available under that statute.


                                       109
      CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 111 of 126




       263.   New York: Defendants have engaged in unfair competition or unfair,

unconscionable, or deceptive acts or practices in violation of N.Y. Gen. Bus. Law § 349,

et seq. Defendants agreed to, and did in fact, act in restraint of trade or commerce by

affecting, fixing, controlling and/or maintaining, at artificial and non-competitive levels,

the prices at which pork were sold, distributed or obtained in New York and took efforts

to conceal their agreements from plaintiffs and members of the Damages Class.

Defendants and their coconspirators made public statements about the prices of pork that

either omitted material information that rendered the statements that they made materially

misleading or affirmatively misrepresented the real cause of price increases for pork; and

Defendants alone possessed material information that was relevant to consumers, but

failed to provide the information. Because of Defendants’ unlawful trade practices in the

State of New York, New York class members who indirectly purchased pork were misled

to believe that they were paying a fair price for pork or the price increases for pork were

for valid business reasons; and similarly situated consumers were affected by

Defendants’ conspiracy. Defendants knew that their unlawful trade practices with respect

to pricing pork would have an impact on New York consumers and not just Defendants’

direct customers. Defendants knew that their unlawful trade practices with respect to

pricing pork would have a broad impact, causing commercial and institutional indirect

food preparer class members who indirectly purchased pork to be injured by paying more

for pork than they would have paid in the absence of Defendants’ unlawful trade acts and

practices. The conduct of Defendants described herein constitutes consumer-oriented

deceptive acts or practices within the meaning of N.Y. Gen. Bus. Law § 349, which


                                        110
      CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 112 of 126




resulted in consumer injury and broad adverse impact on the public at large, and harmed

the public interest of customers and commercial and institutional indirect food preparers

in New York State in an honest marketplace in which economic activity is conducted in a

competitive manner. Defendants’ unlawful conduct had the following effects: (1) pork

price competition was restrained, suppressed, and eliminated throughout New York; (2)

pork prices were raised, fixed, maintained, and stabilized at artificially high levels

throughout New York; (3) plaintiffs and members of the Damages Class were deprived of

free and open competition; and (4) plaintiffs and members of the Damages Class paid

supracompetitive, artificially inflated prices for pork. During the Class Period,

Defendants marketed, sold, or distributed pork in New York, and Defendants’ illegal

conduct substantially affected New York commerce and consumers. During the Class

Period, each of Defendants named herein, directly, or indirectly and through affiliates

they dominated and controlled, manufactured, sold and/or distributed pork in New York.

Plaintiffs and members of the Damages Class seek all relief available pursuant to N.Y.

Gen. Bus. Law § 349(h).

       264.   North Carolina: Defendants have engaged in unfair competition or unfair,

unconscionable, or deceptive acts or practices in violation of N.C. Gen. Stat. §75-1.1 et

seq. Defendants agreed to, and did in fact, act in restraint of trade or commerce by

affecting, fixing, controlling and/or maintaining, at artificial and non-competitive levels,

the prices at which pork were sold, distributed or obtained in North Carolina and took

efforts to conceal their agreements from plaintiffs and members of the Damages Class.

Defendants’ price-fixing conspiracy could not have succeeded absent deceptive conduct


                                        111
      CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 113 of 126




by defendants to cover up their illegal acts. Secrecy was integral to the formation,

implementation and maintenance of defendants’ price-fixing conspiracy. Defendants

committed inherently deceptive and self-concealing actions, of which plaintiffs could not

possibly have been aware.      Defendants and their co-conspirators publicly provided

pretextual and false justifications regarding their price increases.      The conduct of

defendants described herein constitutes consumer-oriented deceptive acts or practices

within the meaning of North Carolina law, which resulted in consumer injury and broad

adverse impact on the public at large, and harmed the public interest of North Carolina

consumers in an honest marketplace in which economic activity is conducted in a

competitive manner. Defendants’ unlawful conduct had the following effects: (1) pork

price competition was restrained, suppressed and eliminated throughout North Carolina;

(2) pork prices were raised, fixed, maintained and stabilized at artificially high levels

throughout North Carolina; (3) plaintiffs and members of the Damages Class were

deprived of free and open competition; and (4) plaintiffs and members of the Damages

Class paid supracompetitive, artificially inflated prices for pork. During the Class Period,

defendants marketed, sold, or distributed pork in North Carolina, and defendants’ illegal

conduct substantially affected North Carolina commerce and consumers. During the

Class Period, each of the defendants named herein, directly, or indirectly and through

affiliates they dominated and controlled, manufactured, sold and/or distributed pork in

North Carolina. Plaintiffs and members of the Damages Class seek actual damages for

their injuries caused by these violations in an amount to be determined at trial and are

threatened with further injury. Defendants have engaged in unfair competition or unfair


                                        112
       CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 114 of 126




or deceptive acts or practices in violation of N.C. Gen. Stat. §75-1.1 et seq., and,

accordingly, plaintiffs and members of the Damages Class seek all relief available under

that statute.

       265.     North Dakota: Defendants have engaged in unfair competition or unfair,

unconscionable, or deceptive acts or practices in violation of the North Dakota Unlawful

Sales or Advertising Practices Statute, N.D. Century Code § 51-15-01, et seq. Defendants

agreed to, and did in fact, act in restraint of trade or commerce in North Dakota, by

affecting, fixing, controlling, and/or maintaining, at artificial and non-competitive levels,

the prices at which pork at issue was sold, distributed, or obtained in North Dakota.

Defendants deliberately failed to disclose material facts to Plaintiffs and members of the

Damages Class concerning Defendants’ unlawful activities and artificially inflated prices

for pork at Issue. Defendants misrepresented to all purchasers during the Class Period

that Defendants’ pork at Issue prices were competitive and fair. Defendants’ unlawful

conduct had the following effects: (1) price competition for the Pork at Issue was

restrained, suppressed, and eliminated throughout North Dakota; (2) pork at Issue prices

were raised, fixed, maintained, and stabilized at artificially high levels throughout North

Dakota. During the Class Period, Defendants’ illegal conduct had a substantial effect on

North Dakota commerce and pork purchasers. As a direct and proximate result of

Defendants’ violations of law, Plaintiffs and members of the Damages Class suffered an

ascertainable loss of money or property as a result of Defendants’ use or employment of

unconscionable and deceptive commercial practices as set forth above. That loss was

caused by Defendants’ willful and deceptive conduct, as described herein. Defendants’


                                        113
      CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 115 of 126




deception, including their affirmative misrepresentations and omissions concerning the

price of pork at Issue, misled all purchasers acting reasonably under the circumstances to

believe that they were purchasing pork at Issue at prices set by a free and fair market.

Defendants’ misleading conduct and unconscionable activities constitute violations of

N.D. Century Code § 51-15-01, et seq., and, accordingly, Plaintiffs and members of the

Damages Class seek all relief available under that statute.

       266.   South Carolina: Defendants have engaged in unfair competition or unfair,

unconscionable, or deceptive acts or practices in violation of the South Carolina Unfair

Trade Practices Act, S.C. Code Ann. §39-5-10 et seq. Defendants’ combinations or

conspiracies had the following effects: (1) pork price competition was restrained,

suppressed and eliminated throughout South Carolina; (2) pork prices were raised, fixed,

maintained and stabilized at artificially high levels throughout South Carolina. During the

Class Period, defendants’ illegal conduct had a substantial effect on South Carolina

commerce. As a direct and proximate result of defendants’ unlawful conduct, plaintiffs

and members of the Damages Class have been injured in their business and property and

are threatened with further injury. Defendants have engaged in unfair competition or

unfair or deceptive acts or practices in violation of S.C. Code Ann. §39-5-10 et seq., and,

accordingly, plaintiffs and the members of the Damages Class seek all relief available

under that statute.

       267.   South Dakota: Defendants have engaged in unfair competition or unfair,

unconscionable, or deceptive acts or practices in violation of the South Dakota Deceptive

Trade Practices and Consumer Protection Statute, S.D. Codified Laws § 37-24-1, et seq.


                                        114
      CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 116 of 126




Defendants agreed to, and did in fact, act in restraint of trade or commerce in South

Dakota, by affecting, fixing, controlling, and/or maintaining, at artificial and non-

competitive levels, the prices at which pork at issue was sold, distributed, or obtained in

South Dakota. Defendants deliberately failed to disclose material facts to Plaintiffs and

members of the Damages Class concerning Defendants’ unlawful activities and

artificially inflated prices for pork at Issue. Defendants misrepresented to all purchasers

during the Class Period that Defendants’ pork at Issue prices were competitive and fair.

Defendants’ unlawful conduct had the following effects: (1) price competition for the

Pork at Issue was restrained, suppressed, and eliminated throughout South Dakota; (2)

pork at Issue prices were raised, fixed, maintained, and stabilized at artificially high

levels throughout South Dakota. Defendants’ illegal conduct substantially affected South

Dakota commerce and on those who purchased pork in South Dakota. As a direct and

proximate result of Defendants’ violations of law, Plaintiffs and members of the

Damages Class suffered an ascertainable loss of money or property as a result of

Defendants’ use or employment of unconscionable and deceptive commercial practices as

set forth above. That loss was caused by Defendants’ willful and deceptive conduct, as

described herein. Defendants’ deception, including their affirmative misrepresentations

and omissions concerning the price of pork at Issue, misled all purchasers acting

reasonably under the circumstances to believe that they were purchasing pork at Issue at

prices set by a free and fair market. Defendants’ affirmative misrepresentations and

omissions constitute information important to Plaintiffs and members of the Damages

Class as they related to the cost of pork at Issue they purchased. Defendants have


                                        115
      CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 117 of 126




engaged in unfair competition or unfair or deceptive acts or practices in violation of S.D.

Codified Laws § 37-24-1, et seq., and, accordingly, Plaintiffs and members of the

Damages Class seek all relief available under that statute.

       268.   Vermont: Defendants have engaged in unfair competition or unfair,

unconscionable, or deceptive acts or practices in violation of 9 Vermont Stat. Ann. §

2451, et seq. Defendants agreed to, and did in fact, act in restraint of trade or commerce

in a market that includes Vermont, by affecting, fixing, controlling, and/or maintaining,

at artificial and non-competitive levels, the prices at which pork were sold, distributed, or

obtained in Vermont. Defendants deliberately failed to disclose material facts to Plaintiffs

and members of the Damages Class concerning Defendants’ unlawful activities and

artificially inflated prices for pork. Defendants owed a duty to disclose such facts, and

Defendants breached that duty by their silence. Defendants misrepresented to all

purchasers during the Class Period that Defendants’ pork prices were competitive and

fair. During the Class Period, Defendants’ illegal conduct had a substantial effect on

Vermont commerce and consumers. As a direct and proximate result of Defendants’

violations of law, Plaintiffs and members of the Damages Class suffered an ascertainable

loss of money or property as a result of Defendants’ use or employment of

unconscionable and deceptive commercial practices as set forth above. That loss was

caused by Defendants’ willful and deceptive conduct, as described herein. Defendants’

deception, including their affirmative misrepresentations and omissions concerning the

price of pork, likely misled all commercial and institutional indirect food preparer

purchasers acting reasonably under the circumstances to believe that they were


                                        116
      CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 118 of 126




purchasing pork at prices set by a free and fair market. Defendants’ misleading conduct

and unconscionable activities constitutes unfair competition or unfair or deceptive acts or

practices in violation of 9 Vermont § 2451, et seq., and, accordingly, Plaintiffs and

members of the Damages Class seek all relief available under that statute.

       269.   West Virginia: Defendants have engaged in unfair competition or unfair,

unconscionable, or deceptive acts or practices in violation of the West Virginia Consumer

Credit and Protection Act, W.Va. Code § 46A-6-101, et seq. Defendants agreed to, and

did in fact, act in restraint of trade or commerce in a market that includes West Virginia,

by affecting, fixing, controlling, and/or maintaining, at artificial and non-competitive

levels, the prices at which pork at issue was sold, distributed, or obtained in West

Virginia. Defendants deliberately failed to disclose material facts to Plaintiffs and

members of the Damages Class concerning Defendants’ unlawful activities and

artificially inflated prices for pork at Issue. Defendants affirmatively misrepresented to all

purchasers during the Class Period that Defendants’ pork at Issue prices were competitive

and fair. Defendants’ unlawful conduct had the following effects: (1) price competition

for the Pork at Issue was restrained, suppressed, and eliminated throughout West

Virginia; (2) pork at Issue prices were raised, fixed, maintained, and stabilized at

artificially high levels throughout West Virginia. Defendants’ illegal conduct

substantially affected West Virginia commerce and purchasers of pork. As a direct and

proximate result of Defendants’ violations of law, Plaintiffs and members of the

Damages Class suffered an ascertainable loss of money or property as a result of

Defendants’ use or employment of unconscionable and deceptive commercial practices as


                                         117
      CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 119 of 126




set forth above. That loss was caused by Defendants’ willful and deceptive conduct, as

described herein. Defendants’ deception, including their affirmative misrepresentations

and omissions concerning the price of pork at Issue, misled all purchasers acting

reasonably under the circumstances to believe that they were purchasing pork at Issue at

prices set by a free and fair market. Defendants’ affirmative misrepresentations and

omissions constitute information important to Plaintiffs and members of the Damages

Class as they related to the cost of pork at Issue they purchased. Defendants have

engaged in unfair competition or unfair or deceptive acts or practices in violation of

W.Va. Code § 46A-6-101, et seq., and, accordingly, Plaintiffs and members of the

Damages Class seek all relief available under that statute.

       270.   Wisconsin: Defendants have engaged in unfair competition or unfair,

unconscionable, or deceptive acts or practices in violation of the Wisconsin Consumer

Protection Statutes, Wisc. Stat. § 100.18, et seq. Defendants agreed to, and did in fact, act

in restraint of trade or commerce in a market that includes Wisconsin, by affecting,

fixing, controlling, and/or maintaining, at artificial and non-competitive levels, the prices

at which pork at issue was sold, distributed, or obtained in Wisconsin. Defendants

affirmatively misrepresented to all purchasers during the Class Period that Defendants’

pork at Issue prices were competitive and fair. Defendants’ unlawful conduct had the

following effects: (1) price competition for the Pork at Issue was restrained, suppressed,

and eliminated throughout Wisconsin; (2) pork at Issue prices were raised, fixed,

maintained, and stabilized at artificially high levels throughout Wisconsin. Defendants’

illegal conduct substantially affected Wisconsin commerce and purchasers of pork. As a


                                        118
      CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 120 of 126




direct and proximate result of Defendants’ violations of law, Plaintiffs and members of

the Damages Class suffered an ascertainable loss of money or property as a result of

Defendants’ use or employment of unconscionable and deceptive commercial practices as

set forth above. That loss was caused by Defendants’ willful and deceptive conduct, as

described herein. Defendants’ deception, including their affirmative misrepresentations

concerning the price of pork at Issue, misled all purchasers acting reasonably under the

circumstances to believe that they were purchasing pork at Issue at prices set by a free

and fair market. Defendants’ affirmative misrepresentations constitute information

important to Plaintiffs and members of the Damages Class as they related to the cost of

pork at Issue they purchased. Defendants have engaged in unfair competition or unfair or

deceptive acts or practices in violation of Wisc. Stat. § 100.18, et seq., and, accordingly,

Plaintiffs and members of the Damages Class seek all relief available under that statute.

                                       Count Four

                                 Unjust Enrichment 83
                    (on behalf of Plaintiffs and the Damages Class)

       271.   Plaintiffs incorporate by reference the allegations set forth above as if fully

set forth herein.

       272.   To the extent required, this claim is pleaded in the alternative to the other

claims in this Complaint.




83
  Unjust enrichment claims are alleged herein under the laws of the states for which
claims are alleged in Counts Two and Three above.


                                        119
      CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 121 of 126




      273.   Defendants have unlawfully benefited from their sales of pork because of

the unlawful and inequitable acts alleged in this Complaint. Defendants unlawfully

overcharged privately held commercial and institutional indirect food preparers, which

purchased pork at prices that were more than they would have been but for Defendants’

unlawful actions.

      274.   Defendants’ financial benefits resulting from their unlawful and inequitable

acts are traceable to overpayments by Plaintiffs and members of the Damages Class.

      275.   Plaintiffs and the Damages Class have conferred upon Defendants an

economic benefit, in the nature of profits resulting from unlawful overcharges, to the

economic detriment of Plaintiffs and the Damages Class.

      276.   Defendants have been enriched by revenue resulting from unlawful

overcharges for pork while Plaintiffs have been impoverished by the overcharges they

paid for pork imposed through Defendants’ unlawful conduct. Defendants’ enrichment

and Plaintiffs’ impoverishment are connected.

      277.   There is no justification for Defendants’ retention of, and enrichment from,

the benefits they received, which caused impoverishment to Plaintiffs and the Damages

Class, because Plaintiffs and the Damages Class paid supracompetitive prices that inured

to Defendants’ benefit, and it would be inequitable for Defendants to retain any revenue

gained from their unlawful overcharges.

      278.   Plaintiffs did not interfere with Defendants’ affairs in any manner that

conferred these benefits upon Defendants.




                                      120
      CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 122 of 126




       279.   The benefits conferred upon Defendants were not gratuitous, in that they

constituted revenue created by unlawful overcharges arising from Defendants’ illegal and

unfair actions to inflate the prices of pork.

       280.   The benefits conferred upon Defendants are measurable, in that the revenue

Defendants have earned due to their unlawful overcharges of pork are ascertainable by

review of sales records.

       281.   It would be futile for Plaintiffs and the Damages Class to seek a remedy

from any party with whom they have privity of contract. Defendants have paid no

consideration to any other person for any of the unlawful benefits they received indirectly

from Plaintiffs and the Damages Class with respect to Defendants’ sales of pork.

       282.   It would be futile for Plaintiffs and the Damages Class to seek to exhaust

any remedy against the immediate intermediary in the chain of distribution from which

they indirectly purchased pork, as the intermediaries are not liable and cannot reasonably

be expected to compensate Plaintiffs and the Damages Class for Defendants’ unlawful

conduct.

       283.   The economic benefit of overcharges and monopoly profits derived by

Defendants through charging supracompetitive and artificially inflated prices for pork is a

direct and proximate result of Defendants’ unlawful practices.

       284.   The financial benefits derived by Defendants rightfully belong to Plaintiffs

and the Damages Class, because Plaintiffs and the Damages Class paid supracompetitive

prices during the Class Period, inuring to the benefit of Defendants.




                                          121
      CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 123 of 126




       285.   It would be inequitable under unjust enrichment principles under the law of

the District of Columbia and the laws of all states and territories of the United States,

except California, Ohio and Indiana, for Defendants to be permitted to retain any of the

overcharges for pork derived from Defendants’ unlawful, unfair and unconscionable

methods, acts, and trade practices alleged in this Complaint.

       286.   Defendants are aware of and appreciate the benefits bestowed upon them by

Plaintiffs and the Damages Class. Defendants consciously accepted the benefits and

continue to do so as of the date of this filing, as pork prices remain inflated above pre-

conspiracy levels.

       287.   Defendants should be compelled to disgorge in a common fund for the

benefit of Plaintiffs and the Damages Class all unlawful or inequitable proceeds they

received from their sales of pork.

       288.   A constructive trust should be imposed upon all unlawful or inequitable

sums received by Defendants traceable to indirect purchases of pork by Plaintiffs and the

Damages Class. Plaintiffs and the Damages Class have no adequate remedy at law.

                               VIII. RELIEF SOUGHT

       WHEREFORE, Plaintiffs demand judgment against Defendants as follows:

       289.   The Court determine that this action may be maintained as a class action

under Rule 23(a), (b)(2) and (b)(3) of the Federal Rules of Civil Procedure, and direct

that reasonable Notice of this action, as provided by Rule 23(c)(2) of the Federal Rules of

Civil Procedure, be given to each and every member of the Class;




                                        122
      CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 124 of 126




       290.     That the unlawful conduct, contract, conspiracy, or combination alleged

herein be adjudged and decreed: (a) an unreasonable restraint of trade or commerce in

violation of Section 1 of the Sherman Act; (b) a per se violation of Section 1 of the

Sherman Act; (c) an unlawful combination, trust, agreement, understanding and/or

concert of action in violation of the state antitrust and unfair competition and consumer

protection laws as set forth herein; and (d) acts of unjust enrichment by Defendants as set

forth herein.

       291.     Plaintiffs and members of the Damages Class recover damages, to the

maximum extent allowed under such state laws, and that a judgment in favor of Plaintiffs

and members of the Damages Class be entered against Defendants jointly and severally

in an amount to be trebled to the extent such laws permit;

       292.     Plaintiffs and members of the Damages Class recover damages, to the

maximum extent allowed by such laws, in the form of restitution and/or disgorgement of

profits unlawfully obtained;

       293.     Plaintiffs and members of the Damages Class be awarded restitution,

including disgorgement of profits Defendants obtained as a result of their acts of unfair

competition and acts of unjust enrichment, and the Court establish of a constructive trust

consisting of all ill-gotten gains from which Plaintiffs and members of the Damages

Class may make claims on a pro rata basis;

       294.     Defendants, their affiliates, successors, transferees, assignees and other

officers, directors, partners, agents and employees thereof, and all other persons acting or

claiming to act on their behalf or in concert with them, be permanently enjoined and


                                         123
      CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 125 of 126




restrained from in any manner continuing, maintaining or renewing the conduct, contract,

conspiracy, or combination alleged herein, or from entering into any other contract,

conspiracy, or combination having a similar purpose or effect, and from adopting or

following any practice, plan, program, or device having a similar purpose or effect;

       295.   Plaintiffs and members of the Classes be awarded pre- and post- judgment

interest as provided by law, and that such interest be awarded at the highest legal rate;

       296.   Plaintiffs and members of the Classes recover their costs of suit, including

reasonable attorneys’ fees, as provided by law; and

       297.   Plaintiffs and members of the Classes have such other and further relief as

the case may require and the Court may deem just and proper.

                           IX.     JURY TRIAL DEMANDED

       298.   Plaintiffs demand a trial by jury, pursuant to Rule 38(b) of the Federal

Rules of Civil Procedure, of all issues so triable.




                                         124
     CASE 0:18-cv-01776-JRT-HB Doc. 400 Filed 11/06/19 Page 126 of 126




Dated: November 6, 2019                Respectfully submitted

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                                 125
